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                                                                                  FILED BY                    D.C.

                             UNITED STATES DISTRIC T COUR T                            Mlt 22 2222
                                               for the                                  ANGEL.A E.NOBLE
                                                                                       CLEBK 1.J,5.DISI C'E
                                  Rnllkbern n iqkricf flf F loridl                     S.D.OFFI..A.-MIAMI
                                          M iam iD ivision

              Joe M orford
                Plaintiff

                                                       CivilA ction N o.   -   1:21-cv-20039       .

            M aurizio Cattelan
                D efendant



                             QPPf-M ITION TO M OTION TO PISM ISS

            Defendant'sM otion to Dism issisnotsupported. Defendant'sM otion to Diqm issshould

   lw flfm ifxcl

                                         JNTRO DUCTION

            Icannotextend m y copvrightto coverelementsthatexistin nature and/orutilitarian

   functionts).
            M y copyrightdoesnotextendto arealbanana.M y copyrightdoesnotextend to duct

   tape. Butthisaction isnotaboutmy owning the ideaofarealbananaorduct-tape.

            M y copyrightdoesextend to an expression created,which includesa com bination ofa

   banana and ducttape.

            There issubstantialsimilarity regarding my protectable expression.

            '
            f'
             he D efkndanthad reasonable access to m y w ork.

            In theCûINTRODUCTION''ofthem otion Defense Counselstated:

   tn ispurportsto be an action forcopyrightinfringem ent.In pm viousfilingswith thisCourt,

   Plaintiffassertedtmequivocallythat,*1donotassertacopyrightr/cfzato theidea ofabanana

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   ducttapedtoawalLPeoplearefreetoduct-tapeallthebananasthey wanttoawallw''(Doc37,
   at21)(emphasisadded).
          Thequoteaboveincorrectly containsaperiod attheend ofthephrase,om itting a

   significantportion ofm y statem ent.

          The quote in contextisasfollow s'
                                          .

   eûAdditionally,ldo notassertcopyrightclaim to the idea ofabananaduct-taped to awall.People

   arefreetoduct-tapeal1thebananastheywantto awall;they arejustnotallowedtoinfringemy
   expression--claim ing itastheirown originalartwork.''

          Nevertheless,m y sutementisaccuratebecauseno onecan copyrightan idea;and my

   copyrightinfringementclaim isfortheappropriationoftheexpression,nottheidea:(See 17
   lJ.S.C-A.j109f!-


          17U.S.Codej102-Subjectmatterofcopyright:lngeneral


          tçtbllnnocasedoescopyrightprotection foranoriginalworkofauthorshipextend
          to anv idea.orocedure.orocess.svstem .method ofooeration.conceot orinciole.

          ordiscovery.regardlessofthe fonn in which itisdescribed.explained.illustrated,

          or em hodied in mleh w ork.''



          See:Reyherv.Children'
                              sTelevision Workshop,533F.2d 87,90(2d Cir.1976)Ctltisan
   axiom ofcopyrightlaw thattheprotection granted to acopyrightablework extendsonly to the

   paa
     -ticularexpression ofanideaand neverto the idea itself.M azerv.Stein,347 U.S.201,217,74




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   S.Ct.460,470,98L.Ed.630,642(1954);Bakerv.Selden,101U.S.99,102-103,25L.Ed.841,

   843(1879).,')
          See:TheM agistrateJudgediscussesthe second copyright,noting thattheEleventh

   Circuitstates''therearealm ostno similaritiesbetween thetwo paciferholdersbevond the

   generalideasofincludingateddybear(withtherequisiteears,eyes,nose,mouth,arms,legs),a
   ribbon bow and apastel-based colorschemeon a baby'spacifierholden''

   BabyBuddies,Inc.v.Toys''
                          R''US,Inc.,CASENO.8:03-CV-1377-T-17M AP,6(M .D.Fla.Sep.
   20,2011)
          See:Plaintiffcould stillprevailon aclaim forinfringem entiftheway in which the works

   atissuehereexpressthe unoriginalideasissubstantially sim ilarorthe unoriginalelements''have

   beencombinedinan originalway.''Hogan ,48F.supp.zdat311(citing Walker,784F.2dat
   50).SeeFeist,499U.S.at362,111S.Ct.1282(Evenaworkthatisentirelyacompilationof
   unprotectibleelementsmaybecopyrightableundercertaincircumsunces).
   Dubay v.King,366F.Supp.3d 1330,1349(M .D.Fla.2019)
          See:Gtl3aby Buddies has the rightto preventothers form copying itscreative expression,

   butnotfrom expressing sim ilarideasdifferently.''''Baby Buddies,Inc.v.Toys ''
                                                                               R ''U5)Inc.,

   CASE NO.8:03-CV-1377-T-17M AP,7(M .D.Fla.Sep.20,2011)
          See:Frybarger,812 F.2d at529 (to extentthatsimilaritiesbetween workswere confined
   to ideasandgeneralconcepts,theywerenoninfringingl.''AppleComputer,lnc.v.M icrosoft
   Corp.s35 F.3d 1435.1446 (9th Cir.1994)
          Buttheideaand expression do notcoincidein my work.Thisideaofaduct-tapebanana

   isnotan idea ofa banana:norisitan ideaofduct-taoe.ltisan exoression usinca duct-taoe and

   banana.thatisconvriehtorotected:then infrineed bv the Defendant.


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          '-see,e.g.,Tanksley,902F.3dat174-75(statingthatneitherideasnorplotelementsthat
   flow predictably from suchgeneralideaareprotectableli''Nicassiov.Viacom 1nt% Inc.,No.18-
   2085,7(3dCir.Jul.2,2019)
          See:SiButM attelcan'tclaim am onopoly overfashion dollsw1t11abratty look orattimde,

   ordollssporting trendy clothing - these are al1unprotectable ideas.''M attel,lnc.v.M ga

   Entertainment,fnc..616 F.3d 904.916 (9th Cir.2010)
          See:Assuming thatM attelownsBryant'spreliminary drawingsand sculpt,itscopyrights

   in theworkswould coveronlv itsoarticularexpression ofthe brattv-dollidea.notthe idea

   itself.SeeHerbertRosenthalJewelry Corp.v.Kalpakian,446F.2d738,742(9thCir.1971).
   Otherwise.thetirstperson to expressany ideawould have amonopolv overit.Degascan't

   prohibitotherartistsfrom painting ballerinas,and Charlaine Harriscan'
                                                                       tstop Stephenie M eyer

   from publishing TwilightjustbecauseSookiecamefirst.Similarly,M GA wasfreetolookat
   Bryant's sketchesand say,''Good idea!W e w antto create bratty dollstoo.''

   Mattel,Inc.v.MgaEntertainment,Inc.,616F.3d904,913(9thCir.2010)
          See:W hen worksofartsharean idea,they'lloften be''similar/in thelayman'ssenseof

   theterm .Forexample,thestuffed,cuddly dinosaursatissue inAliottiv.R.Dakin Company,831

   F.2d at901,w ere sim ilarin thatthey w ere a1lstuflkd,cuddly dinosam s - butthat'snotthe sort

   ofsim ilarity welook forin copyrightlaw.''Substantialsim ilarity''forcopyrightinfringement

   requiresasim ilarity ofexpression,notideas.See /tl Thekey question alwaysis:Aretheworks

   substantially sim ilarbeyond the fad thatthey depictthe snm e idea?

   Mattel,Inc.v.MgaEntertainment,Inc.,616F.3d904,916-17(9thCir.2010)
          See:Thetestforinfringementofa copyrightisofnecessity vague.ln thecaseofverbal

   Gçworks''itiswellsettled thatalthouqh the ltoroorietor's''monooolv extendsbevond an exact


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   reproduction ofthe words,there can beno copyrightin theNdeas''disclosed butonly in their

   'dexpression.''PeterPanFabrics,lnc.v.M artin W einerCorp.,274F.2d487(2dCir.1960)
          And m y idea and itsexpression are notinseparable.

          Et''W henthe ideaand itsexpression arethusinseparable,copyingtheexpression willnot

   bebarred,since protectingtheexpression in such circtlmstnnceswould conferamonopoly ofthe

   ideaupon the copyrightownerfreeoftheconditionsand limitationsimposed by thepatent

   law.''ld.at742.55S1D M ARTY KROFFT TELE.v.M CDONALD'S CORP,562 F.2d 1157,1168

   (9th Cir.1977)
          See:CompulfeSoftwareInc.v.Newman,959F.3d 1288,1304(11thCir.
   2020)(tçFiltration ean betricky becausecopied m aterialmay beunprotectableforawidevariety
   ofreasons.First,forinstance,copyrightprotection extendsonly to awork'sexpressiveelem ents,

   notto any underlvinM ''ideasprocedtzre.processesvstem .method ofoperatiom conceptsprinciples

   ordiscovery''expressedtherein.17U.S.C.j102 ;seealsoBakerv.Selden,101U.S.99,
   102-25 L.Ed.841f1879)f''f-flhereisacleardistinction between thebook.assuch.andtheart

   whichitisintendedtoillustrate.'').Courtscallthisthe''idea-expression'
                                                                       'dichotomy,with the
   term ''idea''standing in ''asam etonvm foralleichtcategories''ofunprotectablematerial.1

   Nimmeron Copyrightj2A.06;see,e.g.,Oravecv.Sunny IslesLz/
                                                          awr.pVentures,L.C.,527F.3d
   1218,1224(11thCir.2008).'')
          Fruitcan be taped to a wallin amany differentways. Bananascan betaped to awallin

   m any w ays. Specifk ally,a single banana can be taped to a w allw ith a single piece ofduct-tape

   in a m any differentw ays. Yet,the Defendantcopied m y particularexpression.

          D etknse Counselpointsto m y overallw ork containing m ore com ponentsthan the

   Defendant'sniece. Counselalso nointsto how much theDefendantdid notinfrinze.


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          See:''To constitutean invasion ofcopyrightitisnotnecessary thatthe wholeofa work

   should be copied,noreven a largeportion ofitin form orsubstance,butthat,ifso m uch istaken

   thatthe valueofthe originalissensibly dim inished,orthe laborsofthe originalauthorare

   substantially,toaninjuriousextent,appropriatedbyanother,thatissufficienttoconstitute
   infringement.''SlD M ARTY KROFFT TELE.v.M CDONALD'S CORP,562 F.2d 1157,1169

   n.13(9thCir.1977)
          M y expression isprotected and the individualelem entscannotberemoved from the

   expression in orderto allow the Defendantto stealmy work.During theextrinsicexamination

   ofthe w ork the non-protected elem entsare separated from protected expression

          See:tb-l-heparticularsequence in which an authorstringsa significantnum berof

   unprotectableelem entscan itselfbeaprotectable element.Each note in ascale,forexnmple,is

   notprotectable,butapatternofnotesinattmemayeam copyrightprotection.''M etcalfv.
   Bochco,294F.3d 1069,1074(9thCir.2002).
          Componentsusedto createtheprotected expression cannotbeextracted from the

   protected expression.They createtheprotected expression.Todo so would destroy copyright

   protection forvirtually every work ofart.

          See:OracleAm.,Inc.v.Googlelnc.,750F.3d 1339,1363 (Fed.Cir.2014)O%yanalogy,
   the ooeninzofCharlesDickens'W TaleofFwo Citiesisnothinq buta strineofshortohrases.Yet

   no onecould contend thatthisportion ofDickens'work isunworthy ofcopyrightprotection

   because itcan be broken into those shorterconstituentcom ponents.'l'
                                                                      he question is notw hether

   a shortphrase orseriesofshortphrasescan beextracted from thework,butwhetherthe manner

   inwhichtheyareusedorstnmgtogetherexhibitscreativity.'')




   OPPO SITION TO M OTIO N TO DISM ISS lMorfordv.Cattelan.l:21-cv-20039              Paee6 of68
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          See:ltisan M iom ofcopyright1aw thattheprotection granted to a copyrighted work

   extendsonlyto theparticularexpression ofthe idea and neverto the idea itself M azerv.

   Stein,347U.S.201,217-18,74 S.Ct.460,98L.Ed.630(1954);Bakerv.Selden,101U.S.99.
   102-03,25 L.Ed.#4141879).SID MARTYKROFFT TELE.v.M CDONALD N CORP.562 F.2d

   1157,1163(9thCir.1977)
          See:rA plaintifflmustprovebothsubstantialsimilarityunderthe''extrinsictest''and

   subsfnntialsimilarityunderthe''intrinsictest.''The''extrinsictest''isanobjectivecomparisonof
   specitk expressiveelements.The''intrinsictest''isasubjectivecomparisonthatfocuseson
   whetherthe ordinary,reasonableaudiencewould findtheworkssubstantially sim ilarin thetotal

   conceptand feeloftheworks.

          See:''The extrinsic testconsiders whethertw o w orks share a sim ilarity ofideas and

   expressionasmeasuredbyextemal,objectivecriteria.''Swirsky,376F.3dat
   845(quotingSmith,84 F.3dat1218).
          The banana and duct-tape ispartofaselection,coordination and arrangementofitems

   thathavesecuredcopyrightprotectionallowedundercopyrightlaw (See:CopyrightCircular14;
   CopyrightCompendium 312.1,312.2).Theseitemscannotnow simplybedisassembledfrom
   the expression they havecreated in orderto rem ovethem from comparison.

          See:United Statesv.Hamilton,583F.2d448,451(9th Cir.1978)(Kennedy,J.)
   (''golriginality maybefoundintakingthecommonplaceandmaking itintoanew combination
   orarranMementf').

          Idonotseek copyrkhtprotection foralifelikejellyfsh (satavav.Lt?wr.y(.91 Cir.
   200311.f'
           roq (Georeev.Cadona (9th Cir.20081)dolohin (Folkensv.Wvland Worldwide(9th Cir.




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   20184),cardinals(FranklinM intCorp.v.Nat1Wildl4kArtExck,(3dCir.1978));ordominion
   overabee(HerbertRosenthalJewelry Corp.v.Kalpakian(9thCir.1971)).
          Idonotseektoclaim ownershipoverany nattlralcreaturets)orobjectts).However.ldo
   have copyriahtprotection againsttheinfrirmementofthe banana/duct-tape expression portitm of

   m y work.

          lhaveneverclaimed coovriehtorotection fora real/realisticbanana. M v convrieht

   protection extendsonly to theselection,coordination and arrangem entofthem aterialsused--not

   thematerialsthemselves(See:CopyrizhtCircular14).Aswell.itisshted copvrightlaw that
   though çlrocks''cannotbe copyrighted by them selves--a sculpm re created using them can be

   eligibleprovided itcontainsam inimum levelofcreativity.

          See:AtariGamesCom .v.Oman,979F.2d242,243(D.C.Cir.1992)(%ttheSupreme
   Court'sinstructionthat''therequisitelevelofcreativity (forcopyrightabilitylisextremelylow.''
   FeistPublicationsv.RtlralTel.Serv.Co.,       U .S.    ,   ,111 S.Ct.1282,1287,113 L.Ed.2d

   358,369(1991).13
          lnfact,abanana(realorotherwise)maybeusedtoachieveacopyrightprotected
   expression(See:CopyrightCircular14,CopyrightCompendium 312.1,312.2).
          Itisonly theexpression weneed concern olzrselveswith here.

          Seeç%(''1fthecopiedparts(ofaworklarenot,ontheirown,protectableexpression,then
   therecanbenoclaim forinfringement....''l.''DesignBasics,LLC v.LexingtonHomes,lnc.,858
   F.3d 1093,l105(7thCir.2017)
          W ordscannotbe copyrighted;yetthey areusedto create books.Notescannotbe

   copyrighted'
              ,yetthey createmusic. lndividualmaterialm ay be removed from analysisonly if

   thev ftmction outsideofcoovriqhtableexnression.


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          See:fil'loeWeinM usic.lnc.v.Jackwn,245F.App'x 873,879(11th Cir.
   2007)CTurthermore,FinellfailedtoexpressanyopinionmstotheoriginalityofLil'JoeW ein's
   use ofthecontestedphrase.Accordingly,becausethe''birthday''phrasewasacomm on.

   unoriginal,andnoncopyrightableelementofthesong,itisnotentitledtocopyrightprotection.').
   Butthatisnotthe case here as the selection,coordination and arrangem entoffruit,background,

   tape,residue(inmywork)containasufficientamountoforiginalandcreativesculptural
   authorship and isregarded ascopyrightable.

          Viewingany expression out-of-contextwillreduceitto sinalenotesswords.tilesetc.and

   preventcreativeexpressionsfrom receivedcopyrkhtprotection.
          See:Swirskvv.Carev.376 F.3d 841.848(9th Cir.2004)Cialthoueh chord proeressions

   may notbeindividually protected,ifin combination with rhythm and piteh sequence,they show

   the chorusofThank Go#to besubstantiallv similartothechorusofOne,infringem entcan be

   found.SeeThreeBoys,212F.3dat485;Satava,323F.3d at811.'5).
          See:

          905CopyriehtableAuthorshio in VisualArtW oil



          ''ln the case oftwo-dim ensionalworks,originalauthorship m ay be expressed in a

          variety ofways,such asthe linearcontotlrsofa drawing,thedesign and brush

          strokesofa painting,the diverse fragm ents form ing a collage,the piecesor

          colored stonearranged in am osaicportrait,among otherform sofpictorialor

            aphic expression.''




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           fheduct-tape in my work servesno utilitarian purpose. n e duct-tapedoesnothold

   anyshing;including itselfto thewall.Thefruitissecured in placeby tacking attherear.The

   copyrightofficewmsinform ed ofthispriorto registration :%...in fact,no tape isholding any of

   thefruit--itispositionedacrossthefruit.Asthefruitistackedunseen(atthebackl.''
          Theduct-tape in my work servesno practicalpurpose,itservesno utilitarian function and

   isincluded çtmerely toportray theappearanceofthearticle orconvey inform ation.''

          Theûçduct-tape''in my sculptureservesno utilitarian purpose--even within thenon-useful

   sculptureitself.Thetûduct-tape''affixesnothingto the wall;including itself.Thesculpted

   bananaissecured by unseen tacking attherearwhilethenon-functionalfabricated ttduct-tape''is

   held in placeby glue,rubbercem entandm ostobviously,transparentpacking-tape. Thisis

   verifiable. '
               Fhecopyrightofficewasinformed ofthispriorto registrationand wasprovided with

   photos,which substantiatethis.

          Ofnote,thebench in theoriginalphoto by Rogersçûpuppies''servesautilitarian purpose.

   TheKoonsinfrinqinerenlicain sculotlzrettstrincofPuppies''servesto hold thesetnieces. Yet.

   neitherisexcluded in eitherpiecebecauseitsprimaly function ismerely visualasartwork.And

   thepeopleand puppiesarenotin-and-ofthem selvescopyriqhtable.

          See t...awork may beprotectedby copyright1aw when itsothem iseunprotectable

   elementsarearrangedinauniqueway.SeeRogersv.Koons,960F.2d301,307(2d
   Cir.1992)''Corwinv.WaltDisney Co.,468F.3d 1329,1341(11thCir.2006)'
          The appearance ofçtduct-tape''is only there to depictûtduct-tape''and isnotuseful. The

   article servesno utilitarian function and isused m erely to portray the appearance ofthe article or

   toconveyinformation.(924.1W hatlsaUsefulArticle? TheCopyrightActdefinesauseful




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   anlcle asEkan article having an intrinsic utilitarian function thatisnotm erely to portray the

   appearanceofthtarticleortoconveyinformation.''17U.S.C.j 101.).


          UsefulArticles

          (SEE:CopyrightLaw:hûpsr//-           vcopyright.gov/register/va-use%l.html)


          A Gtusefularticle''isanobjecthavinganintrinsicutilitarianfunctionthatisnot
          merely toportray theappearanceofthe article orto convey inform ation.

          Examplesareclothing,furniture,m achinery,dinnerware,and lighting fixtures.An

          articlethatisnorm ally partofausefularticlemay itselfbeausefularticle,for

          exam ple-an c'rrmm nntnlw heelcoveron a vehicle.



          Copyrightdoesnotprotectthem echanicalorutilitarian aspectsofsuch worksof

          craftsmanship.Itmay,however,protectany pictorial,graphic,orsculptural

          authorship thatcan beidentified separately from the utilitarian aspectsofan

          obiect.Thus,ausefularticlemayhavebothcopyrightableanduncopyrightable
          features.Forexample,acarving on the backofachairorafloralreliefdesign on

          silvertlatwarecould be protected by copvriahk butthedesign ofthechairor

          flotaxrnrfx itqelf f
                             xnlllfl nnt




          Copyrightin a work thatportrays a usefularticle extendsonly to the artistic expression of

          theauthorofthepictorial.graphic.orsculpturalwork.ltdoesnotextend to thedesicn of

          the article thatisoortraved.Forexam ole.a draw inq orohotoeraoh ofan autom obile ora


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          dressdesign may becopyrighted,butthatdoesnotgivetheartistorphotographerthe

          exclusiverightto makeautomobilesordressvsofthe sam edesign.



          M y work Bananaand Orangecontain therequisiteamountofcreative expression which

   iswhv isentitledto copvriahtorotection.

          See:FeistPublications,Inc.v.RuralTel.ServiceCo.,499U.S.340,362(1991)(ûThe
   question thatremainsiswhetherRuralselected,coordinated,orarranged theseuncopyrightable

   facts in an originalway.A s m entioned,originality is nota stringentstandard;itdoesnotrequire

   thatfactsbe presented in an innovativeorsurprising way.Itisequally true,however,thatthe

   selection and anungementoffactscnnnotbe so mechanicalorroutineasto requireno creativity

   whatsoever.Thestandard oforiginality islow,butitdoesexist.SeePatterson Joyce760,n.144

   (''W hilethisrequirementissometimescharacterizedasmodest,oralow threshold,itisnot
   withouteffecf')(internalquotationsomitted;citationsomitted).AsthisCourthasexplained,the
   Constimtion m andatessom eminim aldegreeofcreativity,see The Trade-M ark Cases,100 U.S.,

   at94,and an authorwho claimsinfringementmustprove ''theexistenceof...intellectual

   production,ofthought andconception.''Burrow-Giles,supra,at59-60.'3
          Theprotectableaspectsofmy work includetheduct-tapedbanana expression and the

   Defendantexcerpted thism eaningfulportion.

          See:Steinberg v.ColumbiaPicturesIndustries,663F.Supp.706,713(S.D.N.Y.
   1987)(tethiscase involvestheentireprotected work and an iconographically,aswellas
   proportionately,significantportion oftheallezedlv infrinainawork.Cf M attel.Inc.v.Azrak-
   HamwavIntern.,Inc.,724 F.2d 357,360 (2d Cir.1983);ElsmereM usic,Inc.v.National

   Broadcastine Co..482 F.Supn.741.744 (S.D.N .Y.I.aff'
                                                      d 623 F.2d 252 ('
                                                                      2d Cir.1980)(takine


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   smallpartofprotectedworkcanviolatecopyrightl.'')and attemptedtoclaim itashisoriginal
   creation.

          Thereism orethan substantialsimilarity between theprotectableexpression ofmy work

   and theDefendant'swork.And theexoression doesnotaooroachm ereer.

          See:CompulfeSoftwareInc.v.Newman,959F.3d 1288,1304(11th Cir.
   2020)Cçsecond.and separatelv,som eexpression m av be so intrinsicto the comm unication ofan
   idea--orprocedure,process,etc. thatitisconsidered to have 'merged'
                                                                    'intothe idea.

   According to the mergerdoctrine,wheretherearesufficiently ''few waysofexpressing an idea,

   noteven the expression isprotected by copyright.'BUC ,489 F.3d at1143.In one sem inal

   example,theFirstCircuitdeterminedthatawritten rulegoverning asweepstakes- requiring,for

   instance,that''leqntrantsshouldprintname,addressandsocialsecurityntlmberon aboxtop,ora
   plain papern- wasn'tprotectablebecausethe ideasitexpressed were ''so straightfolw ard and

   sim ple''that''atbestonly alim ited number''ofpossiblemodesofexpression could existto

   conveythem.M orrissey v.ProcterttGambleCo.,379F.2d675,678-79(1stCir.1967).'5)
          See:BUC InternationalCorp.v.InternationalYachtCouncilL/2 ,489 F.3d 1129,1142-

   43(11thCir.2007)(çtsecond,MLS SolutionscontendsthatBUC'Sselectionofsectionheadings
   doesnotstzrviveapplication ofthemergerdodrine.Them ergerdoctrine providesthat

   ''expression isnotprotected in thoseinstanceswherethereisonly one orso few waysof

   expressing an ideathatprotection ofthe expression would effectively accordprotection to the

   idea itself''Bellsouth,999 F.2d at1442 (citingKregos v.Associated Press,937 F.2d 700,
   705(2d Cir.1991)).Asnotedabove,copyrightnormallyprotectstheexpressionofideas,butnot
   theideasthem selves.See 17U .S.C.j 102(b).Forexam plestheidea ofhuntina a formidable




   OPPOSITION TO M OTION TO DISM B S lMorfordv.Cattelan.l:21-cv-20039                Paee 13 of63
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    whale atthelead ofan eccentric captain isnotprotectedby copyrightlaw .Theexpression ofthis

    ideaasitisencapsulatedinthenovelM oby-Dick,however,isprotectedbycopyright.'')
            See:Therelated doctrine ofm erger''instructsthatsome ideascan only beexpressed in a

    limited numberofways''such that''ideaand expressitm 'm erge,'''with theresultingnmalgam

    receiving no copyrightprotection.Zalewski,754 F.3d at102-.
                                                             03 ;seealso Bucklew ,329 F.3d

    at928(merger''referstothesituation inwhichthereisonly onefeasiblewayofexpressingan
    idew so thatiftheexpression werecopyrightable itwould m eanthatthe ideawmscopyrightable,

    and idemsarenotcopvrizhtable'').Desicn Basics.LLC v.Lexinaton Hom es.Inc..858F.3d 1093.

    1102 (7th Cir.2017)
           Thisinfrineed sedion ofmv work and theDefendant'soieceare virtuallv identical. The

    m annertheDefendantused toaccom plish thisreplication isirrelevant.

            See:çtln copvrightlaw them edium isnotthemessage,and achangein medium doesnot

    precludeinfringement.''Rogersv.Koons,75lF.supp.474,477(S.D.N.Y.1990).5Easter
    Unlimite4 Inc.v.Rozier,18-CV-06637(KAM),28(E.D.N.Y.Sep.27,2021).
            An extrinsicexam ination maintainsthe centralelem entsselected,coordinated and

    anunged in avirtually identicalm armer.Theintrinsicexam ination isobviousto theaverage 1ay

    observerwhereinthey would conclude striking sim ilarity.A swell,theportionsshould be

    compared side-by-sidein relativeproportions.

            Thereareno-less-thanseven(7)specificsimilaritiesinacomparisonoftheworks.And
    none ofthese sim ilaritiesw ere içinevitable.''

            See:tç-l-here isno greatersimilarity between thepinsofplaintiffand defendantsthan is

    inevitablefrom theuseofjewel-encrustedbeeformsinboth.''S1D M ARTY KROFFT TELE.v.
    M CDON ALD'S COR.P.562 F.2d 1157.1168(9th Cir.19771.M ATTEL.INC.v.M GA


    OPPOSITION TO M OTION TO DISM ISS lMorfordv.Cattelan.1:2l-cv-20039                Paee 14 of68
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    ENTERTAINMENT fNC.,CASE NO.CV 04-9049DOC (RNBx),15n.7(C.D.Cal.Dec.27,
    2010)C1Attheextrinsicstage,thecourtdeterminesthestandardforinfringementthatwillbe
    ''applied atthe Nintrinsic'stage-''Ninth CircuitOp.at10541.''Ifthere'sa widerangeof

   expression ...then copyrightprotection is-broad'and awork willinfringeifit'sAsubstantially

    sim ilar'to thecopyrighted work.lfthere'sonly anarrow rangeofexpression ...then copyright

   protectionisNthin'andaworkmustbe-virtually identical'toinfringe.''f2'')
            Artisticworksare entitled to broad protection.

            See:Mccullochv.AlbertE.Price,Inc.,823F.2d 316,321(9thCir.1987)(çtAswe
    emphasizedin anonly slightly differentcontext,copyright/(zw?considersfactualwtlr/cltobe
   fundamentally#l
                 TArpn/#om moreartisticworks:''similarityofexpressionmayhavetoamotmt
    to verbatim reproduction orvery closeparaphrasing before afacmalwork willbe deem ed

    infrinqed.''''l

            See:AppleComputer,Inc.v.M icrosojtCorp.,35F.3d 1435,1446-47(9thCir.
    1994)(QGSeeFeist.499 U.S.at349.111S.Ct.at1289-90.Rather.itsubmitsthatthe broader

    protection accorded artistic worksismore appropriate.See,e.g.,M cculloch,823 F.2d at

    321(artistic work likea decorativeplatereceivesbroaderprotection becauseofendless

    variationsofexpressionavailabletoartistl.''l
            M y work hasbeen accessibleworldwideforover 10yearsaswellaswidely

    dissem inated.

            TheDefendanthadaccesstothework (asanyonewith internetaccesshas)sinceJuly 18,
    2008.

            Asto areasonableopportunity to view Isubm itthefollowing:




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          t1)aparticularchainofeventsthatestablishalinkbetweentheplaintifrsworkandthe
    Detkndant'saccess.

          Therewasaninordinateamountofviewsfrom thegalleryhomecountry (France)priorto
    the appearanceofDefendantsfirstversion.These viewsfrom France originatefrom aplace

    where Iotherwisehaveno followers.Priorto Defendant'sfirstversion my work wmsalso

    viewedintheDefendant'shomecotmtry(ltaly).
          (2)thattheplaintitrsworkhasbeenwidelydisseminated.
          Asûfwidely dissem inated''indicatesaûçgreatvariety''ofviewslcan confirm thatviews

    camefrom allovertheworld(veritiedinover25countries)priortothepublicationofthe
    Defendant'sversion establishing m y workwasreasonable forhim to haveviewed.



                                           SU M M A R Y

          TheDefendant'sclaimeduseofarealbanana(ttcattelan'spiece,Comedian,ontheother
    handconsistsofanactualbananaduct-tapedtoawal1.'')andactllnlduct-tapedoesnotexempt
    Defendantfrom alegitimatechargeofinfringem entmscopying by othermeansisstillcopying.

          See:iD efendant'salleged infringem entofPlaintiffsG hostFace M ask in a different

    medium- adepiction on a garmentratherthan aphvsical.three-dim ensionalsculpted mask-

    doesnotprecludea findingofeopyrightinfringement.tçln copyrightlaw themedium isnotthe

    m essaee.and a chanee in medium doesnotorecludeinfrintem ent''Rozersv.Koons.751

    F.supp.474,477(S.D.N.Y.1990).'EasterUnlimite4 Inc.v.Rozier,18-CV-06637(lQAM),28
    (E.D.N .Y.Sep.27s20214.
          M y work wasoriginated asan artistic expression and theinfringersimply replicated it

    using arealbanana and actualduct-tape,which isnothing morethan a crudeand obviousattempt


    OPPOSITION TO M OTION TO DISM ISS lM orford v.Cattelan.1:
                                                            21-cv-20039              Paee 16of68
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    to hidethe plagiarism .tKsuch casesareconsistentwith thegeneralprinciple stated in 1M .and

    D.Nimmer,NimmeronCopyright,(1989)ûû-f'
                                         hefactthatawork inonemedium hasbeencopied
    from a work in anothermedium doesnotrenderitany lessa ''copy''.

           Arrangingnaturalobiects(fruit)taken from nature canbe copvrighted when thev Etare

    selected,coordinated,andarrangedinacreativemanner(312.1CopyrightableSubjectM atterl''
    and assuch,these same creationsdo notpossessstanding exemption from infringem enti.e.the

    Defendantholdsno rightto infringeby using alternate materialto achievethe samevisual

    expression.

           Aswell,the Defendant'suseofduct-tapecan also reasonably be interpreted asnon-

    functionalin thatthe fnzitisaftsxed to thewallvia tmseen tacking attherear.

           Defense Counselreferencesa difference in mediaused with no substantiating caselaw or

    relevantcopyrightlaw .These are statem entsm adein avacuum and appearto atlemptto absolve

    theirclientbutarebased on nothing.lnfringementcannotbeavoided by theinfringerrealizing

    the replication in alternate m eans.

           Copyrightin my work isnotextended to apreexisting realisticbanana orthenon-

    utilitarian functioning duct-tape.Nevertheless,the materialsused to createthe work arenotof

    issue as copyrightprotection extendsonly to the selection,coordination orarrangem entof

    preexisting m aterialsnotto the m aterialsthem selves;



           Circular 14:Copyrightin D erivaîive W orksand t-om pllauons



           Copyrightin Derivative W orksand Com pilations

           ConvriehtProtection in Com oilations and Collective W orks


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              Fhe copyrightin acompilation ofdataextendsonly to theselection,coordination

          Orarrangementofthe materialsordata,butnette thedata itself In thecaseofa

           collectivework containing fçpreexisting works'' worksthatwerepreviously

          oublished.oreviouslv reqistered.orin theoublicdom ain thereeistration will

           only extend to theselection,coordination orarrangem entofthoseworks,notto

          thepreexistin:worksthem selves.lftheworksincluded in acollectivework were

           notpreexisting- notpreviously published,registered,orin the public domain or

           owned by athird party- theregistration may extendto thoseworksin which the

              lulhorofthe collective work ownsorhasobtained allriehts.



           The allegationsin m y w ork are nottErazorthin''as asserted by D efense Counselbecause

    my work being acreative endeavoritisentitled to broad protection.ln particular,thiswork falls

    outside ofm erger:

           See:çtEduc.Testing Servs.v.Katzman,793F.2d 533,539(3dCir.1986);ECFNo.53at
    9:21-10:7(contendingthattheexpressionofemotionsmayapproachafindingofmerger).For
    thereasonsdiscussedherein,arobot'sfaceconveyingemotionsandinformation issubjectto
    varying expressionsoftheidem''Dig.Dream Labsv.LivingTech.(Shenzhen)Co.,2:20-CV-
    01500-CCW ,(W .D.Pa.Feb.28,2022)
           And regarding scènes à faire,in wallsculpm re.w hatelem ents flow from a com m on

    them e?

           See:Herzog v.CastleRockEntertainment,193F.3d 1241,1248(11thCir.
    1999)(ûûsim ilarlvescenesa Jtkïrc.''sequencesofeventswhich necessarily follow from acom mon


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    them e,''arenotprotectible.Reyher,533 F.2d at91.Incidents,characters,orsettingsthatare

    indispensableorstandard inthetreatmentofagiventopicarenotcopyrightable.'')
           Thereforethe unauthorized replication ofmy work by theDefendantisnotexcused by

    scènes à faire.

           Theçûtotalfeeland cencept''isnotdifferent.

           Any com parison ofthe two worksisneverthe tédifferences.''

           See:Tu# nkianImport/ExportVentures,Inc.v.EinsteinMoomjy,Inc.,338F.3d 127,131
    (2d Cir.2003)(çT o illustrate the lack ofsubstantialsimilaritvsthedistrictcotlrtrecited anumber

    ofdifferencesbetweentherugs,includingthefactthat''ldlefendants'designissymmetrical,
    whileolaintiffsisasvmmekical.a differencewhich createssubstantialchancesin thetotal

    conceptand feelofthetwo works,given thatboth aresubstantialcopiesofthepublicdom ain

    Battilossi.''Ié W hilethedistrictcourt''appreciategdlthatdefendantsdid copv.inm odified form .

    afew elementsoriginaltoplaintiffr''thecourtconcludedthat''thoseelements(especially in their
    modified form )donotchangethe differenttotalconceptand feelofthe two works.''f2'')
           Thetwo worksatissue hereneed becompared in thecorrectproportions;notin the

    wildly disproportionatedisplay previously included by Defense Counsel.

           Detknse Counselhmsclaim ed the ttangles''ofthetwo worksaredifferent.In fact,the

    angleofbanana-to-tapeareidentical.A geom etricanalysiswhereby and x/y axisisdrawn

    through the m iddle ofthe m eeting ofthe tape and banana revealseither self-contained expression

    tobelaidoutwith fourcongruentangles.lftheinfringingpieceisrotated35OtotheleR (-350),
    these sam e anglesare an exactm atch,while the constituentpartsofthe expression overlay

    virtually identically.Thisisonem ore exam pleofwheremy choiceswere replicated where other

    m anv otherontionsare olainlv available.


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            Simple rotation doesnotequaloriginalexpression'
                                                          ,itism orelikely intentional

    dissirnilarity.

           See:JoshuaMeierCo.v.AlbanyNovelty A#:.Co.,236F.2d 144,146(2d Cir.
    1956)Ct-l-hiscrudeeftbrttogivetheappearanceofdissimilarity isitselfevidenceofcopying.'')
           ItisstillM onaLisa even ifoneofthe paintingsisrotated slightly fartherto the left. '
                                                                                              T'
                                                                                               he

    actualexpression containsthesam eself-contained manifestation.



                                         LEGAL STANDARD

           lhaveadequately stated aclaim and provided ashowing ofasetoffactsconsistentwith

    the allegationsin the complaint. Thismotion to dism issshould be denied.

           See:llW henconsideringamotiontodismissbroughtunderRCFC 12(b)(6),the
    allegationsofthecomplaintshould be construed favorably to thepleader.''Scheuerv.Rhodes,

    416 U.S.232,236 (19744.TheCourtmustinquireshowever,whetherthe complaintm eetsthe
    iûplausibility''standard described by theUnited StatesSupremeCourt,i.e.,whetheritadequately

    statesaclaim and orovidesaçtshowinq roflanv setoffactsconsistentwith theallecationsinthe

    complaint''BellAtl.Corp.v.Twombly,550U.S.544,560,563(2007)(hereinafterût-rwombly'')
    (citationsomitted).
           1am entitledto seek rem edy forcopyrightinfringem entafforded m etmder 17U.S.Code

    Chapter5 -COPYRIGHT INFRINGEM ENT AND REM EDIES.

           jj1
             v.bt
               .-.atem ent01
                           mt.
                             e-..
                                y:1-
                                   :-
                                    .



                      I'heplaintiffisseeking dam agesin theform ofgrossprofitgeneratedby the

           Defkndanttotalingover$390K.Thisistheamountofmoneymadefrom three(3)direct


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          salesofthepieceandtwo(2)Kçartistproofs''viaArtBaselinM iamiBeach
          (ATTACHMENT 11.TheDefendant'spiece''Comedian''isplagiarizedfrom the
          plaintiffsoriginalart''Banana& Orange''(RegistrationNumber:VA00022236725.As
          welltheplaintiffseekscourtcostsand travelexpensesregarding theprosecution ofthis

          cnqe. The olintiffm aintainsoroofoforiein.accessand substzmtial/strikingsim ilarity.



          *Thisamountwascalculatedtobe$690,000.00(US)insubmittedAm davitdatedasof
          A pril20,2021.



          IV . Relief



                 Theplaintiffasksthecourtto orderreliefin theform ofgrossprofitgenerated

          from theplagiarized workto bepaid to theplaintiff. TheDefendanthassold,a

          minimum,offive(5)piecestotalingover$390K.Theplagiarism continuespresently in
          theform orm erchandising and prom otion.Theplaintiffissuing fortheprofitsgenerated

          thatareac ibutable to the infringement. Thisistheam ountofm oney madefrom three

          (3)directsalesofthepieceviaArtBmselin M inm iBeach:plustwo (2)ûlartistproofs''of
          thework foran undisclosed am ount.Aswellthe plaintiffseekscourtcosts,travel

          expensesand renuestsallinfrineine materialberemoved.fATTACHM ENT 21.



                 * ûfA TTA CHM EN T 2''indicated içRelief'in the fonn of:

                 1.A1larossprofitsattributableto theinfringem entbe disclosed and awardedto




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                 2. '
                    Ihecessation ofsale,distdbution and display ofany infringing m aterial.



   Allremediesareallowed tmderthe stattlteand item ized astbllows:



          17 U.S.Code j504 -Rem ediesforinfringem ent:Damagesand profits:(a)(.1)    .




          A FFID AV IT OF SU M CERTA IN

                 AccordingtopublishedarticlestheDefendantsoldatotaloffive(5)pieces(3
          sculptures/zproofs)oftheinfringingwork foratotalof$690,000.00 (US).Thesotlrces
          usedforcomputation areNew York Tim es,W allStreetJournaland Public Broadcasting

          Service.Therelevantinformation isattached totllisaftidavitaslistwith referenced

          publication,author,date,time,relevantstatementts)andassociated links.
          (SubmittedviaAffidavitdatedApril20,2021.)


          17U.S.Codej502-Remediesforinfringement:lnjunctions:(a),(b)
          17U.S.C.j503.Remediesforinfringement:lmpolmdinganddisposition ofinfringing
          articles

                 Thecomplaintrequestedreliefviaprofits,expensesand injunctivereliefint%the
          cessation ofsale,distribution and display ofany infringing m aterial.''

                 See:çt-
                       l-heCourthasfound thatJury infringed Plaintiffscopyrights.M oreover,

          there is substantiallikelihood offuture infringem ent.''...tEF'orthese reasons,the Court

          find thatapermanentiniundion isappropriate in thiscase.''Jenkinsv.Jury.CaseNo.
          5:07-cv-133-Oc-GRJ.12 (M .D.Fla.Aor.16.200%




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                 See:Pacilicand SouthernCo.,lnc.v.Duncan,744F.2d 1490,1493(11thCir.
          1984)CW ealsoconcludethatthetelevisionstationisentitledtoapermanentinjunction
          preventingtheappellantfrom continuingtoinfringeitscopyright.'')
                 See:RoRersv.Koons.960 F.2d 30l.306 (2d Cir.1992)(çtthedistrictcourt

          concluded on Febrtzary 22,1991thatthe record show ed Sormabend'sasw ellas K oons'

          liabilityforinfringingprofhs.OnM arch 27,1991itenteredapermanentiniunction

          enjoiningKoonsandSonnabendGalleryfrom making,selling,lendingordisplayingany
          copiesof,orderivativeworksbasedon,''Puppies,''and,pursuantto 17U.S.C.j503,
          requiring defendantsto deliverallinfringing articlestoplaintiffwithin 20 days,including

          thefourthorartist'scopyof''StringofPuppies.'''')


   3.     17U.S.Codej505-Remediesfbrinfringement:Costsandattorney'sfbes
                 Aswellthe plaintiffseekscourtcostsand travelexpensesregarding the

          orosecution ofthis fmRe.



          1have subm itted requisitefactsand substantialallegations,noneofwhich are legally

   refuted in thismotionto dism iss.

          1have subm itted w ell-pleaded factualallegation w hich entitle m e to relief;including

   materialfactsreaarding dates,times,etc.

          lhave m etthe plausibility standard and plead facm alcontentthatallows the courtto

   draw thereasonableinferencethattheDefendantisliableforthemisconductalleced.




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          T'
           here isno otherplausibleway in which theDefendantcould havearrived attheexact

   sameexpression in tbe exactsamegenre.Thisisnotcoincidence,notexcused underscènesà

   faire,norcan be explained viamerger.

          M v work hasbeen determined to becreativeenoueh to meritconvrizhtDrotection.M v

   work isnotm erely an arrangem entvoid ofcreative expression.

          M y work isnotsim ply an arrangem entofaeometlic shapes.Itisaselectiom

   coordination and arrangementofmaterialthatconstitute acreativeexpression with more than a

   m odicum ofcreativity.

          See:FeistPublications,Inc.v.RuralTel.ServiceCo.,499U.S.340,(1991)Cç-f'
                                                                               he
   constitutionalrequirementnecessitatesindependentcreationplusamodicum ofcreativity.'')
          And theDefendantcannotpointto how much hedid notstealin orderto escape the

   charge ofcopyrightinfringement. Aswell,pointing to thethingsthataredifferentin thework

   ratherth% thesim ilaritiesisnotthe intention ofcomparison.

          M y work containssubstantialprotectableexpression,

          See:Jenkinsv.Jury,CaseNo.5:07-cv-133-Oc-GRJ,7(M .D.Fla.Apr.16,
   2009)(:uenkinsregisteredthecopyrightsmorethantsveyearsafterpublicationofhissculptlzres,
   the Courthasno difficulty according greatweightto thecertificatesofregistration.A snoted

   above,Jury didnotseriously challengethevalidity ofthesecopyrightsattrial.M oreover,even if

   hehad,the CourttindsthatJenkins'sculpturesareexactly the sortofwork thatm ay be

   copyrighted.lndeed,the evidence isundisputed thatPlaintiffindependently created the

   imaginary''Pum leTailr''fanciful''ShortBigEye''andfanciful''QuillbackRockfish''andthat
   thev possessmorethan a ''m inim aldezreeofcreativitv.'''')




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           Theaccused work isvirtually identicalastotheprotected expression and supported by

    substantialfacts.Aswell,m y work isnotfûhistoricalarchitecture''itisin factççprotectable

    expression''(See,e.g.,Seven Otzk,
                                    :M illwork Inc.v.RoyalFoam 5,% LLC,483F.supp.3d 1192
    (M .D.Fla.2020).
           1haveadequately alleged both accessand m ore-than substantialsim ilarity.

           1own a valid copyrichtand shown copying constituentelementsofthework thatare

    original;

           See e.e..Doc.53at10 fplaintiffsTrialBrietlf''the evidence willunequivocallv illustrate

    thatcertainsimilaritiesbetween(Plaintiffsfsshsculptureslandtheaccusedmetalfishsculptures
    areso ''strikina''thatthesim ilaritiescannotsatisfactorily be accounted forbv atheory of

    coincidence,independentcreation,priorcommonsource,oranytheoryotherthancopying.'')
    Jenkinsv.Jun'
                ,CaseNo.5:07-cv-133-Oc-GRJ,8n.20(M .D.Fla.Apr.16,2009)
           M y copyrightprotedion extendsto theselection,coordination and arrangementof,

    amongotherthings,thebananaand duct-tapein m y work tçBananaand Orange.''And itisthis

    expression th1 theDefendnnthasinfringed



                                            ARGUM ENT

    1.DEFENDANT'S M OTIO N FOR DISM ISSAL SH OULD BE DENIED

           Pertheprimaryobjectiveofcopyrightlaw,Iam entitledtorelief.Iam notrequestingmy
    laborberewarded. çtcongressshallhavePower...to promotetheProgressofScience and useful

    A rts,by securing for lim ited Tim esto Authors and Inventorsthe exclusive Rightto their

    respectiveW ritingsandDiscoveries....''U.S.CONST.art.1,j8,cl.8.tt-l-heprimary objectiveof



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    copynghtisnottorewardthelaborofauthors,buttltlopromotetheProgressofScienceand
    usefulArts.'''FeistPubl'ns,Inc.v.RuralTel.s'
                                               erv.Co..499U.S.340,349(1991).
           M yprotectableexpression iscopyrightprotected andthiscopyrightwasinfringed upon

    by the Defendant.

           See:To establish copyrightinfringem ent,a plaintiffm ustshow atleasttwo elem ents:

    çt(1)ownershipofavalid copyright,and(2)copyingofconstituentelementsoftheworkthatare
    original.''Singletonv.Dean,611F.App'x671,672(11thCir.2015)(citingBealv.Paramount
    PicturesCorp.,20 F.3d 454,459 (11th Cir.1994:.
           lhave shown thatlpossessavalid copyrightand thatthe Defendantcopied constim ent

    elementofmy work thatareoriginal.

           The Defendantinfringed m y oriainalexpression.

           The averaeelav observed would recoenizethealleqed coov ashavine been aoorooriated

    from the originalw ork.

           See:Calhoun v.LillenasPublishinm 298F.3d 1228,1232 (11th Cir.2002)(çt''an averaae
    lay observerwould recognizethe alleged copy ashaving been appropriated from theoriginal

    work.''OriginalAppalachianWr/wtvktInc.v.Fqyft?#,684F.2d 821,829 (11thCir.1982)
           TheDefendanthadreasonableaccesstomywork(ArtistW ebsite,Facebook,
    YouTube/Google)forasignificantperiodoftime(Ju1y 18,2008),thiswaspriortothe
    appearanceofhisclaim ed initialversion and thetwo piecesare so sim ilarthata lay observer

    would recognize thealleged copy ashaving been appropriated from the original.

           See:6çW hile som e courtshave required experttestim ony to establish striking sim ilarity,

    such testimony isunnecessary in thiscasebecausethisisnota ''technical''tield in which thetrier




    OPPOSITION TO M OTION TO DISM ISS lMorford v.Cattelan.1:21-cv-20039                   Paee26 of68
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    oftàctisnotabletomakethisdetermination.SeeKentv.Revere,1985W L 6453,*7(M .D.Fla.
    1985.)59Jenkinsv.Juty,CaseNo.5:07-cv-133-Oc-GRJ,10n.24(M .D.Fla.Apr.16,2009).
           Idonotattempttoclaim ownership ofanatlzralelement(fruit).However,non-
    protectablem aterialscan beused to createan originalexpression,which then isentitled to

    copyrightprotection(See:Circular14,CopyrightCompendium 312.1,312.2).
           See:Satavav.ftpwry,323F.3d805,811(9th Cir.2003)(ttlolriginalitymaybefoundin
    takingthecommonplaceandmaking itintoanew combination orarrangement.'').Seealso
    Metcalf 294F.3dat1074(''Theparticularsequenceinwhichanauthorstringsasignificant
    num berofunprotectable elem ents can itselfbe a proted able elem ent.Each note in a scale,for

    example,isnotprotectable,butapattern ofnotesinatunemay earncopyrightprotection.''l.'')
    See,...awork may beprotected by copyrightlaw when itsotherwise unprotectableelem entsare

    arrangedinauniqueway.SeeRogersv.Koons,960F.2d301,307(2dCir.1992)''Corwinv.
    WaltDisney Co.,468F.3d 1329,1341(111 Cir.2006)'.
           Nordo lattemptto claim ownership ofautilitariam functionalcom ponent(duct-tape)as
    theduct-tane nrovidesno functionalournosein m v work.



    A.1 C annotExtend M y C opyrightTo Cover Elem entsThatExistln N ature A nd/o r

    Utilitarian C om ponents.

           M y copyrightclaim isnotbased on the false notion thatm y copyrightgrants m e

    ownership ofany banana com bined w ith ducttape.

           ldo notclaim thatm y copyrightgrantsm e ownership ofçéany banana com bined w ith

    ducttape.''Ratherm y copyrightprotection isforthe specitk selection,coordination and




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    arrangementin my expression.1have obuined copydghtprotection forasptcific expression;

    thisexpression hasbeen infringed on by theDefendant.

           Idonotseekcopyrightprotectionforalifelikejellyfish(Satavav.Lowry,(9th Cir.
    2003): frog (Georgev.Cadonas49th Cir.2008:.dolphin (Folkensv.W yland W orldwide (9th

    Cir.2018:,cardinals(FranklinM intCorp.v.Nat'1Wildl# ArtExch,(3dCir.1978:;orthe
    interpretation ofabee(HerbertRosenthalJewelryCom.v.Kalpakian(9th Cir.1971)).
           ldo notseek copyrightprotection forelementsin thepublicdom ain--only my expression

    created.

           See:Compul# SoftwareInc.v.Newman,959F.3d 1288,1304(111 Cir.
    2020)(tt-fhird- andthisisemsiertotmderstand- materialtakenfrom thepublicdomain is
    unprotected,even ifincorporated into a copyrighted work.See Stewartv.Abend ,495 U .S.207,

    234,110S.Ct.1750,109L.Ed.2d 184(1990)(holdingthatanauthor''mayreceiveprotection
    only forhisoriginaladditions,''notl'elements...alreadyinthepublicdomain'').'')
           Aswell,my work isnotastock arrangem ent.

            See:CompulfeSoftwareInc.v.Newman,959F.3d 1288,1304(11thCir.2020)tlTourth,
    materialmaybeunprotectedifitconstitutesscènesàfaire thatis''lilncidents,characters,or
     settingsthatare indispensable orsàndard in the keatm entofa given topic.''Corwin v.W alt

    Disney Co.,475F.3d 1239,1251(11thCir.2007)(alterationinoriginal)(quotingHerzog v.
     CastleRockFa/za'
                    /,193F.3d 1241,1248(11th Cir.1999));seealsoBealv.Paramount
    PicturesCorp..20 F.3d 454.459 (11th Cir.1994)(describingscènest)faire as''stock scenes

    thatnaturally flow from a comm onthem e'').Forexnm ple,wehavenoted thatthereis''no
    protection forcom m on elem ents in police fiction.such as çdrunks.prostim tes.verm in and

     derelictcars'and Efootchasesand the moraleoroblemsofpolicem en.notto mention the fam iliar


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     tigureofthelrish cop.'''Corwin,475F.3dat1251(quoting Walkerv.TimeLf
                                                                       /èFilms,
    Inc.,784F.2d44,50(2dCir.1986)).'')
           W hatelementsin fnzitand duct-tape arem andated by,orcustomary to,thegenreof

    sculottzre.oreven fruit-and-taoe-sculottlre.ormore soecificallv banana-and-duct-taoesculoture?

           Thereisnosuchthingasstandardelements(scènesàfaire)with anon-existentgenre
    called ûçduct-taped fnzit''which would somehow preventa legitim ate infrinqementclaim by m e

    oftheDefendant'sexactreplication ofmy expression.Therearealargenumberofpossibilities

    in combiningfruitandducttape(evenwithjustonepieceoffruitandduct-tape).Yet,the
    Defendantended up with exactly the sameexpression asmine. Thiswmsnotindependent

    creation onthepartofthe Defendant.

           Even ifwewereto assumea genreprotecting elementsofscènesà faire within,the

    Defendantcould stillnotclaim Vtstandard elementuse''by identically replicating m y exact

    expression outofam assivem ultitudeofchoices: W hy notaverticalbananataped by the stem ?

     W hy notadom epositioned bananataped acrossitslatimde? W hy notan invertedbananataptd

    with foldedtape? W hy nottwo bananasand threepiecesofduct-tape? Etc. Instead the

     Defendantchose the exactsnme fruitandtape supertluouspositioning using theexactsame

    portions. Thiswasnotcoincidence. Thiswasnotindependentcreation on thepartofthe

    Defendant.

           Icnnnotreceive copyrightprotection foreithera banana orduct-tape. The copyright

    protection afforded m y w ork isforan originalexpression created using non-copyrighu ble

    m aterials. The copyrighted expression infringed on by the D efendantdoesnotfallunderscènes

    à faireasitisnotan expression standard.stock orcommon to aparticularsubiect.




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           See:Badstev.Najm,28F.Supp.3d 595,601(E.D.La.2014)CtLikewise,copyright
    protection doesnotextend toscènes:-/àïrematerialcontained within awork.Such material

    includeslçexpressionsthatarestandard,stockorcommontoaparticularsubjectmatterorare
    dictatedby externalfactors.''Engk Dynamics,26F.3dat1344.'')
           See:Stewartv.Abend,495U.S.207,224(1990)C1''Thecopyrightinacompilation or
    derivativework extendsonly tothematerialcontributed bv theauthorofsuch work,as

    distinguished from thepreexisting materialemployed in the work.and doesnotimply any

    exclusive riehtin theoreexistinz material.Thecoovriehtin such work isindenendentof.and

    does notaffectorenlarge the seope,dtlration,ownership,orsubsistence of,any copyright

    protection in thepre-existinzm aterial-''17 U.S.C.j 103(b).'')
           Nowhere in the copyrightgranted my work llBanana& Orange''doesthecopyrightoffice

    grantm eownership overbananas,oranges,duct-tape,residue,etc. Iwasextended copyright

    protectionformy expression--nottheindividualnon-copyrightablematerialstherein (See:
    CopyrightCircular14,Compendium 312.1,312.2).Icanunderstandthis.Thecopyrightoffice
    understandsthis. 1donotknow why Defense Counselseem sto find itincom prehensible.

           See:Satavav.Lowry,323F.3d805,813(9thCir.2003)CNattzregivesusideasof
    anim alsin theirnaturalsurroundings:an eagle w ith talons extended to snatch a m ouse;a grizzly

    bearclutching a salmon between itsteeth;a buttertly em erging from itscocoon;a wolfhowling

    atthefullmoon;ajellyfish swimmingthroughtropicalwaters.Theseidems,firstexpressedby
    nature,are the com m on heritage ofhum ankind,and no artistm ay use copyrightlaw to prevent

    othersfrom depictingthem.'')
           M y expression isnotsimply atûlifelike representation ofanaturalcreature''.




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           Rather,Im aintain copyrightprotection fortheexpression;nottothepreexisting works

    used--naturalorotherwise.Thecopyrightprotection extendsonly to theselection,coordination

    orarrangem entoftheseitem s.And itisthisexpression thatwasstolen by the Defendant.



     1.ICannotExtend M y CopyrightTo A RealBanana

           M y work hasnotttm erely com bined severalunprotectable ideasand standard elements''it

    is an originalexpression.

           See:Compul# SoftwareInc.v.Newman,959F.3d 1288,1304 (1lthCir.
    2020)(çTinally,certainwaysofarranging information- say,alphabetically- areentirely
    unoriginal,andthereforeunprotectable.SeeFeist,499U.S.at363,111S.Ct.1282(explaining
    thatpresenting data in alphabeticalorderis''so com monplacethatithascom eto beexpected asa

    m atterofcottrse'')'')

           Them odicum ofcreativity ofttBanana & Orange''cannotbeindicted by virtueofits

    eleeance assuch orieinalitv isnotsubiecttotheççsweatofthebrow''doctrine.

           See 1...with regard to compilationsto enstlrethatcourtswould notrepeatthem istakeof

    the ''sweatofthebrow ''courtsby concluding thatfact-based worksaretreated differentlv and

    measured by som eotherstandard.AsCongressexplained it,the goalwasto ''m akeplain thatthe

    criteria ofcopyrightablesubiectmatterstatedin section 102apply withfu11forcetoworks...
                                .




    containing preexisting m aterial.''H .R.Rep.,at57-
                                                     ,S.Rep.,at55.FeistPublications,lnc.v.

    RuralTel.ServiceCo.,499U.S.340,357(1991)5
           See:ûû...awork may be protectedby copyrightlaw when itsotherwiseunprotectable

    elementsarearrangedinauniqueway.SeeRogersv.Koons,960F.2d30l,307(2d
    Cir.1992)''Corwin v.WaltDisnevCo..468F.3d 1329.1341(111 Cir.2006)5


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           Fruitby itselfisnotentitled to copyrightprotection--norisan exactreplica.Duct-tape

    (norafabricatedreplica)in-and-ofitselfisalsonotentitledtocopyrightprotection.However,in
    m y work,thefruitand duct-tape are selected,coordinated and arranged in acreativemanner

    m aking thesculpturalexpression eligible forcopyrightprotection.

           (a):FRUIT
           Fruitalone isnotentitled to copydghtprotection any m orethan arock.A swell,a

           stereotypicalrepresentation offruitsitting asitwould in naturecannotreceive copyright

           protection.SeeGeorgev.Cadona,266F.App'x 523,524 (9thCir.2008).However,
           fruitisnotfound wearing duct-tapein natureasa standard feature. And theappearance

           ofthefrtzitrepresented in my sculpmredoesnotfollow from theideaofabananain its

           naturalhabitat.Andasamatterofcopyrightlaw asculpturalworkincludingfruit(or
           realisticrepresenutionsofsame)thatareselected,coordinated,andarrangedinacreative
           mannerareeligibleforcopyrightprotection(312.1CopyrightableSubjectM atter).
           (b):DUCT-TAPE
           Duct-tapealoneisnotentitledto copyrightprotection any morethan ahand-tool.

           Howeversthe duct-tapein m v sculpttlreisnotsim plv aself-contained replicaacting

           independentoforiginalexpression--itisexpressed in an originalm annerinvolving

           selection-coordination and arraneem entin a creative m anner. A nd asa m atterof

           copyright1aw asculpturalworkincludingf'
                                                 unctionalitemse.g.hand-tools(or
           representation ofsame)thatareselectedscoordinatedsand arranged in acreativemanner

            'aellglbieibrcopyrightprotection(312.1CopyrightableSubjectM atter).
            .




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           1do not,and cannot,own acopyrightin an acmalbanana,arealisticreplication ofa

    banana orrealorotherreplicated duct-tape.

           ldo notseek topreventothersf'
                                       rom copying aspectsofmy sculptureresulting from either

    Rhebanana'slphvsiologv orfrom Rhebanana'sldepiction in the fsculptlzre)meditlm .''

           See:Satavav.fJwry,323F.3d805,812(9thCir.2003)Cfsatavamay preventothers
    from copyingtheoriginalfeamreshecontributed,buthem ay notpreventothersfrom copying

    elementsofexpressionthatnattlredisplaysforallobservers'').
           Inm suing fortheinfringementofmy expression thatusessuch preexisting matelials.

           Theexpression thatwasinfringed wasnota realistic/realbanana.ltwasa specifk

    expression conuining a duct-taped banana. Theexpressionrelatesto theselection,coordination

    orarrangementofthematerial.Nottothematerialsitself Thisiscopyright1aw (See:Circular
    14,Compendium 312.1,312.2).
           TheNinth Circuitheld thatapurported copyrightholderçtmay notpreventothersfrom

    copyingaspectsofhissculpturesresultingfrom either(theanimal'slphysiologyorfrom (the
    animal's)depictioninthegparticularartistic)medilzm.''1d.at810.
           So,by al1m eans,usea realbanana,orbuy afake oneatacraftstore,orm akeyourown--

    youarefreetouseittocreateyourownexpression'
                                              ,youjustcannotuseitto infringemine,
    which iswhattheDefendantdid here.

           A ny reasonable factfinderwould be able w ould be able to find som ething distinctive

    aboutm v w ork. ln particular.butnotlim ited to,an incongruous diagonalbeltofduct-tape

    acrossasinglebanana.I'
                         hisisnothow andbananaistlsittingasitwouldinnature''(GeorgeS.
    Chen Corn.v.Cadona International.Inc..No.04-365.2006 W L 8450995 (C.D.Cal.Feb.14.




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    2006).lnstead,my expressionbringstogethertwoitemsthatdonottraditionallyhaveany
    connection to each other.

           M y work isnotsim ply a depiction ofabanana.And asthe expression containing the

    fruit.taoe.residue.etc.constitute acreativeexoression thatisentitled to coovriqhtnrotection.

           See:Folkensv.Wyland W./?
                                  '#,No.2:14-cv-02197-JAM-CKD,7(E.D.Cal.Apr.6,
    2016)(to efendants'reply that''theonlv oriainalelementrplaintifflcan claim thatalso appears
    in W yland'swork isthatthetwo bottlenosedolphinscross.Thisgeneric addition tothedepiction

    ofactualdolphinsdoesnotnm otmttothe'quantum oforiginality'required to protectthiselement

    ofPlaintiffswork-''(Reply 8:3-6.(
                                    /5)
           A copyright-protected expression cannotberemoved f'
                                                             rom analysisorcom parison msitis

    notanlmprotectedelementevenifitcontainspreexistingworks(See:Circular14,Compendium
    312.1,312.2).
           See:''Plrotectableexpressionincludesthespecitk detailsofanauthor'srenderingof
    ideas.''M etcalfv.Bochco,294F.3d 1069,1074(9thCir.2002).
           See:Cortesv.UniversalMusicLatino,477F.Supp.3d 1290,1295-96(S.D.Fla.
    2020)(lç'
            l''
              heEleventh Circuithasexplainedthatthesecondelementbreaksdowninto ''two
    separateinquiries:1)whetherthedefendant,asafactualmatter,copiedportionsoftheplaintiffs
    (workl;and2)whether,asamixedissueoffactand law,thoseelementsofthe(work)thathave
    been copied areprotected expression and ofsuch importance to the copied workthatthe

    appropriation isactionable.''M (quotingGatesRubberCo.v.BandoChem.Indus.,L/J ,9F.3d

    823,832(10th Cir.1993));seealsoCompul# SoftwareInc.v.Newman,959F.3d 1288,
    1301(11th Cir.2020)(''copyin: comprisestwo subparts,çfactualand legalcopvings'both of




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    which Compulife,astheplaintiftlhastheburdentoprove.'')(citingBUC Int'
                                                                        lCorp.v.lnt'lYacht
    CouncilLtd.,489F.3d1129,1148n.40 (1lthCir.2007)).'')
           Eitherpiece in question hereisnotsimply a recreation orrealisticfruit;norisitduct-tape

    used foritsutilitarian pum ose.

           Unprotected elem entsofcopyrightworksdonotincludethecopyrightableexpressions.

           See:Theparticularsequencein which an authorstringsa significantnum berof

    unprotectableelem entscan itselfbeaprotectable elem ent.Each note in ascale,forexnmple,is

    notprotectablepbutapattern ofnotesin a tAlnem ay earn copyriahtprotection.

    Metcalfv.Bochcos294F.3d 1069,1074(9thCir.2002)
           IfwhatD efense Cotm selclaim sw ere true.no booksw ould be elieible forcoovrieht

    protection aswordsmustbestricken from consideration becausethey may be relegated to their

    out-of-contextexam ination--apartfrom theexpression they create--underextrinsic alzalvsis.

           See:fampsPlusv.SeattleLightingFixtureCo.,345F.3d 1140,1146(9thCir.
    2003)(t:''W henaworkdisplaysasignitkantelementofcompilation,thatelementis
    (protectablejeventhoughtheindividualcomponentsoftheworkmaynotbe,fororiginalitymay
    be found in taking thecomm onplaceand m aking itinto anew com bination or

    arrangement.''UnitedStatesv.Hamilton,583F.2d448,451(9thCir.1978)(citationsomittedl.'')
           No musiccould existbecauseindividualnotescnnnotbecopyrighted. M osaictitles

    could notbe used to create sculpturebecause they arepreexisting elem entsnotindividually

    eligibleforprotection(See:Copyright905CopyrightableAuthorshipinVisualArtW orks).
           M ysculptureisnotasingleobjectorwordoutofcontext.
           See:fil'loe WeinM usic,Inc.v.Jackson,245F.App'x873,880(111 Cir.
    2007)fûr utsideofthatlim ited ''birthdav nhrase-''thereareviltuallv no similaritiesbetween the


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    contested works.lndeed,Lil'Joe W ein doesnotallegethatany aspectof''ln Da Club''infringes

    upon ''ltsYourBirthday''otherthantheinitial''birthday''section.'')
           M y work isaselection,coordination and arrangem entofmaterialthathasaccomplished

    copyrightprotection.And itisthisexpression thathasbeen infringed. ConsiderDali'stt obster

    Telephone''(ûtsalvadorDali,LobsterTelephone,1938.(
                                                     0 2021SalvadorDali,FtmdaciéGala-
    SalvadorDali,ArtistsRightsSocietf').Itisarealisticrecreationofalobsterand actualphone;
    Dickens'1ûA TaleofTwoCities''isjustindividualwordsundeservingofcopyrightprotection;
    andMichelangelo'sDavid isjustanakeddude.
           The Defendant'swork issufficiently permanentorstable to permititto beperceived,

    reproduced,orotherwise comm unicated fora period ofmorethan transitory dtzration.'

    Theûûm orphing''aspectofa rotting banana ismitigated by thefruitbeing replaced atconsistent

    intervalsin orderto m aintain theinitialvisual.Thisreplacementequatesto asimplerestoration

    oftheexoression-notlack ofhum an authorshio (See:17 U.S.Code $ 101à.



           305TheFixation Reqmremem



           To becopyrightable,a work ofauthorship mustbel%xed in any tangiblem edium

           ofexpression,now knownorlaterdeveloped,from which ritlcanbeperceived,
           reproduced,orotherwisecommtm icated,eitherdirectly orindirectly with theaid

           ofamachineordevice.''17U.S.C.j102(a).Specifically,theworkmustbefixed
           in a copy orphonorecord Etby orunderthe authority ofthe author''and the w ork

           m ustbebûsum ciently permanentorstableto permititto beperceived,reproduced,




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           orotherwisecommunicated foraperiod ofm orethan transitory duration.''17

           U.S.C.j10l(definitionofçûfixed''l.


           Theauthorship washuman forwhieh any forcesofnatureplay no signiscantimpactasto

    the visualidentity.

           See:Kelleyv.ChicagoParkDist,635F.3d290,304(7thCir.2011)(tTinally,
    'authorship isanentirelyhlzmanendeavor.''1d j3:19(2010).Authorsofcopyrightableworks
    mustbehuman;worksowingtheirfonutotheforcesofnatlzrecannotbecopyrighted.Id.j3:19
    n.1;seealso U.S.COPYRIGHT OFFICE,COM PEN DIUM l1:COPYRIGHT OFFICE

    PRACTICESj503.034a)(''jA)workmustbetheproductofhuman authorship''andnotthe
    forcesofnature.)(1984);Id j202.02(b).'')
           Thefxation oftheDefendant'spiececom menced atthem omentthebananaand duct-

    tapewere arranged on thewall.

           See:Kelleyv.ChicagoParkDist,635F.3d290,304-5(7thCir.2011)Cr fcotlrse,a
    hum an 'author''- whetheran artist,aprofessionallandscapedesigner,oran am atetzrbackyard

    gardener- determ inesthe initialarrangem entoftheplantsin a garden.Thisisnotthekind of

    authorship required forcopyright.To theextentthatseedsorseedlingscan beconsidered a

    ''medium ofexpressions'they originatein nature,and naturalforces- nottheintellectofthe

    eardener- determ ine theirform .erow th.and aooearance.M oreover.a earden is sim olv too

    changeable to satisfy the prim ary purpose offixation;its appearance istoo inherently vadable to

    supply a baseline fordeterm inin: questionsofcopvrightcreation and inthngem ent.Ifa qarden

    can qualify asa ''work ofauthorship''sufficiently ''em bodied in acopy,'atwhatpointhas

    fixation occurred? W hen the garden is new ly planted? W hen itsfirstblossom sappear? W hen it


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    isin tbllbloom ?How - and atwhatpointin tim e- isacourttodeterm ine whetherinfringing

    copyinghasoccurredT).


          CopyrightCom pendium

          306TheHuman Authorship Requirem ent



          TheU.S.CopyrightOfficewillregisteran originalwork ofauthorship,provided thatthe

          work wascreated by ahuman being.



          Thecopyrightlaw only protectsûtthefruitsofintellectuallabor''thatççarefounded inthe

          creativepowersofthemind.''Trade-M arkCases,100U.S.82,94(1879).Because
          copyrightlaw islim ited to tûoriginalintellectualconceptionsofthe author,''theOffice

          willrefuseto registeraclaim ifitdeterminesthatahum an beingdid notcreatethe work.

          Burrow-GilesLithographicCo.v.Sarony,111U.S.53,58(1884).Forrepresentative
          examplesofworksthatdo notsatisfy thisrequirem ent,see Section 313.2 below.


           ':
            -   3.2 W orks ThatLack Hum an A uthorship



          Asdiscussed in Section 306,theCopyrightActprotectsççoriginalworksofauthorship.''

          17 U.S.C.# 102(a)(emphasisadded).To qualifv asawork oftiauthorship''awork must
          be created by a hum an being.See Burrow -GilesLithographic Co.,111 U .S.at58.W orks

          thatdo notsatisfvthisreuuirementarenotcoovriehtable.




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          The U.S.CopyrightOfficewillnotregisterworksproducedby nature,anim als,orplants.

          Likewise,the Officeeannotregistera work purportedly created by divineorsupernatural

          beings,although the Ox cem ay registerawork wheretheapplication orthe deposit

          copvties)statethatthework wasinspired bv a divine spirit.


          Sim ilarly,the O ffice w illnotregisterw orksproduced by a m achine orm ere m echanical

          processthatoperatesrandomly orautom atically withoutany creativeinputor

          intervention from a human author.The crucialquestion isççwhetherthe çwork'is

          basicallyoneofhllmanauthorship,withthecomputer(orotherdevicelmerelybeingan
          assisting instrum ent,orw hetherthe traditionalelem entsofauthorship in the w ork

          (literary,artistic,ormusicalexpressionorelementsofselection,arrangement,etc.)were
          actually conceived and executed notby m an butby a m achine.''U .S.CO PY RIG HT

          OFFICE,REPORT TO THE LIBRAM AN OF CONGRESS BY THE REGISTER OF

          CO PYRIG H TS 5 (19664.



          TheDefendantsinabilityto copyrighthiswork isnotthe issue here. W hetherthe

   infringing piece iseligible forcopyrightornotisirrelevantasitiscopyingby otherm eans,

   which isnotlegal.

          See,ttln copyrightlaw the medium isnotthem essage,and a changein m edium doesnot

   precludeinfringement.''Rogersv.Koons,751F.supp.474,477(S.D.N.Y.1990).5Easter
   Unlimited,Inc.v.Rozier.18-CV-06637 (KAM ).28 (E.D .N.Y.Sep.27.20214.
          The D efendantcannotavoid a legitim ate charge ofcopyrightinfringem entsim ply

   because he em ploved alternate m aterialsto achieve the sam e visualexpression.


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             See diM oreover,no copierm ay defend the actofplagiarism by pointing outhow m uch of

    $hecopyhehasnotpirated.SeeSheldonv.Metro-GoldwynPicturesCorp.,81F.2d49,56 (2d
    Cin)(L.Hand,J.),cert.denie4 298U.S.669,56 S.Ct.835,80L.Ed.1392(1936).''Rogersv.
    Koons,960 F.2d 301,308 (2d Cir.1992)
             There isnoviableEttransitory duration''argtlmentthatcan beclaim ed by theDefendant

    becausehe isusina atçrealbanana''to stealmy work. tçcom edian''isnotso briefasto prevent

    the viewerfrom identifying it.

             See:CartoonNetworkv.CSC Holdints.536 F.3d 121.127 (2d Cir.20081(çt''Cooies.''as

    definedintheCopyrightAct,''arematerialobjects...inwhichaworkisfixed by anymethod ..
    .   and from whichthework can be ...reproduced.''16L j 101.TheActalsoprovidesthatawork
    is '-fixed'in atnngible medium ofexpression when itsem bodiment...issufsciently permanent

    orstableto perm ititto be ...reproduced ...foraperiodqfmorethanfrt
                                                 .                   znyïft??:yduration.''
    ftf(emphasisadded).W ebelievethatthislanguageplainlyimposestwo distinctbutrelated
    requirements'
                .thework m ustbeembodied in amedium ,i.e.,placed in am edillm suchthatitcan

    beperceived,reproduced,etc.,from thatmedium (the''embodimentrequirement''),anditmust
    remainthusembodied''foraperiodofmorethantransitorydtlration''(the''duration
    requiremenf').See2MelvilleB.NimmerDavidNimmer,NimmeronCopyrightj8.02(B)(3),at
    8-32(2007).Unlessbothrequirementsaremet,theworkisnot''fixed''inthebuffer,and,asa
    result,thebufferdataisnota''copy''oftheoriginalworkwhosedataisbuffered.'')
             Cotm sel'sow n previously included photo provesthe infringing w ork lmstsm ore tha11a

    transitory duration.

             See:iundertheCopyrightAct,a work isfixed in atangible medium ofexpression ''when

    itsembodim entin acoov orohonorecord.bv orundertheauthoritv ofthe author.issuftk ientlv


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    pennanentorstabletoperm ititto beperceived,reproduced,orotherwisecom municated fora

    period ofmore thantransitory duration.'



    2.1CannotExtend M y CopyrightTo DuctTape

            M y work isnota usefularticle. Itisa w ork ofartand entitled to copyrightprotection

            M y w ork is nota usefularticle. ltisan artistic creation containing only non-ftm ctional

    elem ents.

            Myworkisnotafunctionalorusefulelement:11NimmeronCopyrightj906.8
    (ltFunctionaland UsefulElem ents'').
            The w orksatissue here are notusefularticlesi.g.they are notcheerleading llniform s

    (StarAthleticasL.L.C.v.Varsitv BrandssIncop137 S.Ct.1002,1012 (2017$.they arenot

    lamps(M azerv.Stein-347U.S.201,74S.Ct.460(1954:,theyarenotwirewheelcoversthat
    askthecourtto seoarate thedesien from theirnrim arvutilitarian function (NorrisIndus..Inc.v.

    1nt1Tel.doTel.Corp.,(11th Cir.1983)).Nordoesmycopyrighted workincorporateauseful
    article foritsutilitarian pum ose in the visualexpression.

            Eitherpiece atissue here is fine art--they have no practicalpum ose. They are not

    functionalworks. The caselaw referenced appliesto ftmctionalcomponentsofusefularticles,

    and here,eitherpiece in question,haveno practicalpurpose.

            And even ifitwere,consider'
                                      .

            See:EtW e agree w ith O racle that,underN inth Circuitlaw ,an originalw ork---even one

    thatservesafunction- isentitled to copyrightprotection aslong asthe authorhad multiple ways

    toexpresstheunderlyingidea.''OracleAm.,Inc.v.GoogleInc.,750F.3d 1339,1367(Fed.Cir.
    2014)

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              Nevertheless.theduct-tapein my work doesnotççaffixthebanana againstthebackground

    surface''asincorrectly stated by Defense Counsel.Theduct-tape in my work doesnotaffix

    anything to the background;including itseltl And itisirrelevantifthe duct-tapein the infringing

    work does,becausecopying by otherm eansisstillcopying.Itdoesnotmatterthematerialused-

    -
        only the fixed tangibleexpression.

              Additionally,itisnotestablishedthattheduct-tapein theDefendant'sworksservesa

    utilitarianpum ose. Specifically,onlinevideo clearly showsan individualremoving thebanana

    from the,othelw isetmseen,tacking attherear. Thisvideo can beviewed at:

    (hlps://-      .youmbe.coe watch?v=gzqdx HtW 8&ab channel=GuardianNews)and
    (hdps://-      .theguardir .coe m r ddesigivideo/zolg/dec/o8/perfo= r ce-adist-eats-br r a-
    installation-video).Ialsomaintainscreenshotsofsame.
              A swell,itism y understanding thatthettcertificate''sold along with ûf omedian''

    expressly indicatesthatthebanana isto be im paled on tacking placed in thewallpriorto

    applyingtheduct-tape. Referencesto such instructionscanbefotmd online;including in a PBS

    videoat2:36/11:50on:(hûps://-            .pbs.org/video/the-lsx oo-banr a-ldige ).


              TH E A RT A SSIGN M EN T

              The$150.000 Banana

              Season6Episode 19l1lm 51s


              IN STRU CTION S:

              1. Buy abananaand ducttape.

              2. Embed outward facinqtack into wall.60 inchesfrom the tloor.


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           3. lm palebananaon tack,with thestem pointing up and non stem tip pointing right.

           4.Affix an 8inch length ofducttapeto bananaat45 degreeangle,

           5.Stand back and adm ire handiw ork.



           Ifthese instructionsarenotcorrectIshould expecttheDefendantto clarify,so we may at

    leastresolvethisquestion. However,every referenceIhave seen indicatesthe Defendantuses

    reartacking to aftix the banana to the wall.

           Ifin factthetapeisholding thebanana why istackingrequired? And ifthesinglepiece

    oftapeisnotenough to affix the banana,then why only usethe onepiece?

           Theuse ofa realbananaand itsrepeated prom inencefigtlresm orepractically to be an act

    ofintentionaldissim ilarity ratherthan originalcreation.See:Joshua M eierCo.v.Albany

    NoveltyMfg.Co.,236F.2d 144,146(2dCir.1956)Cç-rhiscrudeeflbrttogivetheappearanceof
    dissimilarityisitselfevidenceofcopying.'')
           Copyrightcalmotextend to abananaorduct-tapein-and-ofitself;thecopyrightextends

    to the selection,coordination orarrangem entofpreexisting m aterials--notto the m aterials

    themselves.See,Copyright,Circular14 ç1...theregistration willonly extend to theselection,

    coordination orarrangementofthe works,butnotto the preexisting worksthem selves.''

    Copyrightprotection cannotextend to arealistic/realbananaorduct-tape;butthen thatisnot

    w hatthisinfringem entsuitisabout. ltisaboutthe originalexpression created using such

    m aterialand the infringem entofsam e.

           Asin(Kelleyv.Chi.ParkDist.-635F.3d290(7th Cir.2011))thecopyrightprotection
    w ould onlv extend to the oortion ofthe exoression created bv htlm an authorshio. Thisselection.




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    coordinationandarrangementofthebananaandduct-tapeisthesubject--nottheorganic
    condition ofthebananaortheability ofnature to degradeit.

            N evertheless,even ifthe D efendant's replication isnotentitled to copyrightprotection

    this does notm ean itdoes notinfrince on m v w ork.

            TheDefendant'swork isin afixed in a tangiblem edium ofexpression.ltisan infringing

    exoression.And itiscertainlv maintained loneenoueh to be identified and thereforenot

    tttrnnsitoly-''

            Aswell.Defendanthasnotindicated hiswork isa derivation.forwhich the Defendant

    aeverreceived perm ission for such from the copyrightholder.



    3.ICanExtendMy CopyrightTo TheCombination 0fA BananaAndDuctTape
            Asalready established,thecom bination ofabananaand duct-tape in my work iscapable

    ofprotection under copyrightlaw even ifthe individualcom ponentsare notbecause registration

    extendsto theselection,coordination orarrangem ent,butnottothosepreexisting works

    thenlselves.

            DefenseCounselstated:

    iplaintiffdisclaim ed thisarplmentwhen he saidthathewasnottryingto ttassertacopyright

    claim totheideaofabananaducttapedtoawall''and isthereforejudiciallyestoppedfrom
    making itnow .'

            Iam notasserting a claim to the idea ofa banana duct-taped to a w allasthe ç:idea''ofa

    banana duct-taped to a w allis obviously notthe sam e thing as an ttexpression''ofa banana duct-

    taped to a w all. Ideasare noteligible forcopyrightprotection. To repeat,1am notasserting a




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    claim toan'tidea''as%çideas''arenotcopyrightprotected.(SEE:COPYRIGHT LAW :17
    U.S.C.A.j 102(b))


           17U.S.Codej102-Subjectmatterofcopyright:Ingc-.. '


           17U.S.C.A.j102(b) lnnocasedoescopyrightprotection foranoriginalworkof
           authorship extend to any idea,procedure,process,system ,m ethod ofoperation,concept,

           principle,ordiscovery,regardlessofthe fonn in which itisdescribed,explained,

           illustrated.orembodied in such work.



           M y work containsm orethan the sufficientamountofcreativity required to obtain

    coovriehtorotection. A nd the continued attem ptto break itinto sm allconstituentcom oonents

    forpurposesofdestroying the expression isnotpennitted by ttwell-established''law.

           See:OracleAm.,Inc.v.GoozleInc..750 F.3d 1339,1363 (Fed.Cir.2014)(EûBv analogv.

    theopeningofCharlesDickens'adTaleofl'
                                        woCitiesisnothingbutastzingofshortphrases.Yet
    no onecould contend thatthisportion ofDickens'work isunworthy ofcopyrightprotection

    because itcan be broken into thoseshorterconstimentcomponents.Thequestion isnotwhether

    ashortphrase orseriesofshortphrasescan beextracted from thework,butwhetherthem armer

    inwhichtheyareusedorstrungtogetherexhibitscreativity.'')
           See: FeistPublications Inc.,v.RuralTelephone Service Company,Petitioner,499 U .S.

    340)10.Thesinequanonofcopyrightisoriginality.Toqualify forcopyrightprotection,awork
    mustbe originalto theauthor.SeeHarperd:A/w,supra,at547-549,105 S.Ct.,at2223-2224.

    Orieinal.asthe term isused in coovrieht.m eansonlv thatthe work w asindeoendentlv created


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    bytheauthor(asopposedtocopiedfiom otherworks),andthatitpossessesatleastsome
    minimaldegreeofcreativity.1M .Nimmer& D.Nimmer,Copyrightjj2.01(A1,(B)(1990)
    (hereinaherNimmer).Tobesure,therequisitelevelofcreativity isextremely low;evenaslight
    amotmtwillsuftice.Thevastmajorityofworksmakethegradequiteeasily,astheypossess
    somecreativespark,''nomatterhow crude,humbleorobvious''itmightbe.f2,j 1.08(C1(1).
    Originality doesnotsignify novelty;awork may beoriginaleven though itclosely resem bles

    otherworksso long asthe similarity isfortuitous,nottheresultofcopying.To illustrate,assum e

    thattwo poets,each ignorantoftheother,composeidenticalpoem s.Neitherwork isnovel,yet

    both areoriginaland,hence,copyrightable.SeeSheldon v.M etro-Goldwyn Pictures Corp.,81

    F.2d49,54 (CA2 1936).
           M y work iscomprised ofm aterialsselected,coordinated,arranged and fixed in such a

    way msto resultin a sculpttlralwork. ltisnotm erelv atûcompilation ofideas.''aççselection and

    m angementofhand-tools,''oram erettcompilation ofrocks,''because ideas,handtoolsand

    rocksdo notconstimtecoovriehtablesubiectmatterunderSection 102(a)ofthe CopvriehtAct.



           312.1 CopyrightableSubjed M aqer:


           Exnmples:The Officem ay registerawork comprised ofrocksthatareselected,

           coordinated,arranged,and sxed in such away astoresultin asculpmralwork.Likewise,

           the O ffice m ay registera photograph ofa rock,a draw ing ofa hand-tool,ora written

           expression ofan idea.However,theOfficecannotregisteram ere çtcompilation ofideœs,''

           am ereltselection and arraneementofhand-tools-''oram ereltcomoilation ofrocks-''




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           becauseideas,handtools,androcksdonotconstitutecopyrightablesubjectmatterunder
           Section 102(a)oftheCopyrightAct.'


           The copyrightprotected portionsofmy work are expressions,they arenota pictureofa

    barettbalusterimageitself'(See:Seven Otzk:Millwork,Inc.v.RoyalFoam US,LLC,supra,483
    F.Supp.3d1192).
           ldid notreceivecopyrightprotection forabanana.

           ldid notreceive copyrightprotection forduct-tape.

           ldid howeverreceive,and maintain,copyrightprotection fortheexpression lcreated

    using such m aterials.

           See:Satavav.Lowry,323F.3d 805,811(9thCir.2003)(tVlolriginalitymaybefoundin
    takingthecommonplaceandmakingitintoanew combinationorarrangement.'f).Seealso
    M etcalf,294F.3dat1074(''Theparticularsequenceinwhichanauthorstringsasignificant
    num beroftmprotectableelem entscan itselfbeaprotectable element.Each note in a scale,for

    example,isnotprotectable,butapatternofnotesinatunemayearncopyrightprotection.''l.'')
           See:iûtherequisitelevelofcreativityIl
                                               forcopyrightabilitylisextremelylow;evenaslight
    amountwillsuftices''FeistPublications,Inc.v.RuralTelephoneSetwiceCo..499 U.S.340.345

    (1991);seeAtariGamesCorp.v.Oman,979 F.2d 242 (CAD C 1992).
           The com bination ofunorotectable elem ents in m v work are num erous enoueh and the

    selection and arrangem entoriginalenough thattheircom bination secures copyrightprotection.

    Pointoffact.m v copvriahtprotection extendsto my work çtBananaand Orange''and notonly

    the banana/duct-tape portion ofm y w ork. M y piece Banana and Orange containsa m ultitude of

    creativechoicesthatconstitutetheprotection extended. TheDefendantcannotthen sim ply


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    excemtam eaningtblportion and claim hedidnotstealenough to constitute infringem ent. As

    well,thatwhich may be necessary to accomplish copyrightprotection,isnotnecessarily the

    same standard required to m eetthe burden ofcopyrightinfringement. TheDefendantcalm ot

    sim ply Retawav with piratinam y work by pointincto how m uch he didn'tsteal.

           See:tûM oreover,no copiermay defend the actofplagiarism by pointing outhow much of

    thecopyhehasnotpirated.SeeSheldonv.Metro-GoldsynPicturesCorp.,81F.2d49,56(2d

    Cir.)(L.Hand,J.),cer/.denie4 298U.S.669,56S.Ct.835,80L.Ed.1392(1936).''Rogersv.
    Koons,960F.2d301,308(2dCir.1992).
           M y w ork is a protected expression containing a banana and duct-tape. Thisexpression

    wasexcerpted f'
                  rom my work and illegally used by theDefendantwho claimsitashisown

    originalcreation.

           See:Ctpr.yVanA#n,Inc.v.CalforniaRaisinAdvisory Bd.,697F.Supp.1136,1140

    (E.D.Cal.1987)Ct'l-hecomplexity andartistryoftheexpressionofan ideawillseparateitfrom
    eventhemostbanalidea.M ichaelangelo'sDavidis,asanidea,nomorethanastatutersicjofa
    nudem ale.Butno onewould question theproposition thatifacopyrighted work itwould

    deserveprotectionevenagainstthepoorestofimitations.'')
           See:SID MARTYKROFFTTELE.v.MCDONALD '
                                              SCORP,562F.2d 1157,1171(9th
    Cir.1977)(tt-l-hediskictcourtinDisnçyrecognizedthattheexpressioninherentinplaintiffs
    worksdiffersfrom them ere idea ofthoseworks.The''idea''ofM ickey M ouse is,afterall.no

    m orethan am ouse.Yettheparticularexpression ofthatm ousehasphenom enalcomm ercial

    valueand isrecognized worldwide.Defendantstherecould havechosen any ntlm berofwaysto

    exoresstheiridea ofamouse.butchoseto coov Disnevts.So too the defendantsin thiscasehad




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    many waysto expresstheideaofafantasylandw 1111characters,butchoseto copy theexpression

    ofplaintiffs'.Thefirstamendmentwillnotprotectsuchimitation.'')


    B.ICan Plead SubstantialSim ilarity Regarding Protectable Elem entsofM y W ork.

            The strikilm similaritv isnota ççbareconclusion''simplv based on thefactthatEçboth

    worksinclude abanana''asDefense Counselbaselessly claim s.The striking sim ilarity isin the

    directreolication ofthe exoression. A n exoression isnotindividualcom oonents out-of-context.

    ltmderstand such an approach may attemptto absolve infringem ent;howeveritisnotthelaw.

    The strikinc sim ilarity here is in the expression.

            Thereisatleast,striking sim ilarity,asto theprotectableexpression ofm y work and the

    infringementbytheDefendant'swork.Thisisnotbecause eitherpiece containsabananaand

    duct-tape itisbecausethebananaand duct-tapein eitherpieced isselected,coordinated and

    arranged in a virtually identicalmanner. The expressionsbetween thetwo workspossess

    striking sim ilarity.

            M y originalcontributionsastheauthorhavebeen m isappropriated by theDefendant.

            The sim ilarity between the tw o w orksûtm ay extend only to those com ponentsofa w ork

    thatare originaltotheauthor.''FeistPubl'ns,Inc.v.RuralTel.Serv.Co.,499U .S.340,361

    (1991).Whichisthecasehere,lfnotevery elementisprotectibleperse.''Lil'JoeWeinMusicv.
    Jackson,245F.App'x 873,877(111 Cir.200/ (citingRogersv.Koons,960F.2d301,307(2d
    Cir.1992)).
            The similarity here isnotonly between thenoncopyrightableelem ents,itisbetweenm y

      pvngm -protecteclexpresslon alm tne D efèndant'scopying ofsam e.




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           See:ç:similarity concernsonly noncopyrightableelementsofaplaintiY swork...''Lassin

    v.islandDeflam Music,No.04-22320-C1V,2005W L 5632056,at*4(S.D.Fla.Aug.8,2005)
    (quoting Walkerv.TimeLfeFilms,Inc.,784F.2d44,48(2dCir.1986)).
           So,letusextractthetmprotectableelements--we are stillleftwith my bananaduct-tape

    expression astheregistration extendsto theûtselection,coordination orarrangem ent''ofthose

    preexisting materials--notthepreexisting worksthem selves.Defense Counselcontinuesto

    attemptto removemy expression by rem ovalofthepiecesused to createit,thisassum esa

    copyrightclaim forfruitorduct-tape,which exhibitsan ignoranceofstated copyrightlaw.

           M y expression is whatiscopyrightprotected.

           See:çlfW lherewe compare fworkslthatcontain both protectibleand unprotectible
    elements,olzrinspection mustbe tmorediscerning';wemustattem pttoextracttheunprotectible

    elementsfrom otlrconsideration and ask whetherthenrotectibleelements.standinz alone.are

    substantially similar.''Knitwaves,Inc.v.LollytogsL/#.,71F.3d996,1002(2dCir.1995)
    (emphasisin original.citationsom itted).

           The expression cnnnotbe extracted--only the unprotectable elem ents. The protectible

    expression inm y work isvirtually identicalto thatoftheDefendant'sinfringing work.

           See:ln a copyrightaction,however,the sim ilarity between two w orksm ustconcern the

    expression ofideas,notthe ideasthem selves.Reyherv.Children'
                                                               s Television Workshop,533

    F.2d87,90-91(2dCir.1976),
                            *Nicholsv.UniversalPicturesCorp.,45F.2d 119,121(2dCir.
    1930).Seeq-
              lU.S.C.j 102(b).
          See:Feist,499 U .S.at348. ttthe fundam entalaxiom ofcopyrightlaw thatno one m ay

    copyrightfactsorideas.Pp.351-361.''FeistPublications,Inc.v.RuralTel.Service Co.,499

    U .S.340.341 (1991)



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              And be advised finding a sim ilarity in ideasdoesnotequateto copyrighting an idea.

              Undertheextrinsictestsacourt;willinquireintowhether,asanobjectivematter,the
    worksare substantially sim ilarin protected expression. The key word being ttexpression.''

              See;Herzog r.CastleRockEntertainment,193F.3d 1241,1257(11thCir.1999)(ttunder
    theextrinsictest,acourt;willinquireintowhether,asanobjectivematter,theworksare
    substantiallysimilarinprotectedexpression.Beal,20F.3dat461-64.'')
              Specitk ally,ifthetwo worksare analyzed in atechnicaldissectionthere areno-lessthan

    seven(7)similarities:
              Thesesimilaritiesarearrived atoutside ofm erger.There arem any waysto tapeabanana

    to a w all.

              See:BUC InternationalCorp.v.InternationalYachtCouncilLf2 ,489F.3d 1129,1143

    (11th Cir.2007)Cû-l-hemergerdoctrineoperatesasanexceptiontothenormalidea-expression
    dichotom y.The doctrine holdsthat,w hen there are so few w aysofexpressing an idea,noteven

    theexpression isprotected bv copyright.To illustratethispoint imaginethe symboloften used

    onpublicsignsdisplaying acircle with adiagonalline crossedthrough it.W hen,forexam ple,an

    imaeeofacizaretteiscentered in them iddle ofthe circlewith thelinethroueh it.thisvisualsizn

    expressesthe idea thatsm oking is notallow ed.This sam e sym bolis used in a wide variety of

    contextsto expressthatsomething isprohibited.e.:..no swim ming.no food ordrink.no cell

    phone.Since there areeffectively only afew waysofvisually presenting theideathatan activity

    isnotperm itled,copyright1aw would notprotectthe expression inthiscase,i.e.,thecirclewith

    tllkllirltltllrtltléjllit.'')
              N oristhe referenced expression w allsculpture scènesà faire.




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            TheDdkndant'spieceisvirtually identicalto mineand thisisnotcoincidence nor

    independentcreation.

            See:M AH EL,INC.v.M GA ENTERTAINM ENT INC..CASE NO.CV 04-9049DOC

    (RNBx),15n.7(C.D.Cal.Dec.27s2010)(ûçAttheextrinsic staze.thecourtdeterminesthe
    standard forinfringem entthatwillbe ''applied atthe 'intrinsic'stage.''Ninth CircuitOp.at

    10541.''Ifthere'sa widerange ofexpression ...then copyrightprotection isAbroad'and awork

    willinfringe ifit's-substantially similar'to the copyrighted work.Ifthere'sonly anarrow range

    ofexpression ...then copyrightprotection is Nthin'and a w ork m ustbe Nvirtually identical'to

    infringe.''1dL'')
            The average 1ay obsen '
                                  ercan easily see the two woks,when com pared in correct

    proportionsto be,atleast,strikingly sim ilar.

            Aswell,thetotalconceptand feeltestcan also be applied whereintheç:totalconceptand

    overallfeel''ofthe expressionsare indeed the snm e.

            M y work satisfiesthe exkinsictestand proceeding to the inkinsictestthe average lay

    observerwould find thetwoworksstrikingly similar.

            ûûBanana and Orange''asacreative work isentitledto broad protection.Even asa

    creative enterprise the genre ofw allsculpm re is com paratively w ide-open. Forexam ple creative

    w orks such asm usic m ay be entitled to broad protection to the extentm usic iscreative'
                                                                                            ,however

    in contextofa pop song lim itsbegin to appear such an average length of3.5 m inutes,verse-

    chorus-bridge structlzre.and w estern m usic containsonlv 12 notes.

            See:Calhounv.fillenasPublishing,298F.3d 1228,1232 (11thCir.2002)tû:W 1Aile
    M cG ee/A ssiens assertthatthe tw o sim ole m elodiesare notsubstantiallv sim ilar.m uch less

    strikilw lv sim ilar.even a casualcom oalison ofthe two com oositions com nelsthe conclusion that



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    thetwocompositionsarepracticallyidentical.Giventhelimitednumberofmusicalnotes(as
    opposedtowordsinaIanguage),thecombinationofthosenotesandtheirphrasing,itisnot
    surprising thatasimplecomposition ofashortlength m ightwellbesusceptibleto original

    creation by more than onecomposen'')

           So,in some casesthe issue may approach merger. Howeverin thiscasem ergerdoesnot

    armlv--thechoicesofwallsculpturearenearlv endless:wherein theonlv lim itationsmav bea

    wall.Consequently,the likelihoodthattwo such sculptureswould end up with theexactsam e

    combination ofinconcruouselementscombined in theexactsnm ematterisnotcoincidence.

           See:lftherearemany waysto expressan idea,the courtwrote,then thevarious

    expressionsshould getbroad protection (hûps://guides.lib.= ich.edi subsGntial-
    similaHl/maûel#:-:text=lpAzothere%zoare% zomr ylzoways,ouoting%zosatava%zov.).
           See:Mattel,Inc.v.MgaEntertal-nment,Inc,616F.3d904,913-14(9th Cir.
    2010)(sçGiventhatothersmay freelycopyawork'sideastandotherunprotectableelements),we
    startby determ ining thebreadth ofthepossibleexpression ofthoseideas.Ifthere'sawiderange

    ofexpression(forexample,therearegazillionsofwaystomakeanaliens-attack movie),
    then copyrightprotection is''broad''and awork willinfringeifit's''substantially sim ilar''to the

    copyrightedwork.Seeid.at1439,1446-47.Ifthere'sonlyanarrow rangeofexpression (for
    example,thereareonlysomany waystopaintaredbouncyballonblankcanvas),then
    copyrightprotection is''thin''and a work m ustbe''virtually identical''to infringe.See/2,
                                                                                            .Satava

    v.fowry,323F.3d 805,812 (9thCir.2003)(glass-in-glmssjellyfishsculptureonly entitledto
    thinprotectionagainstvirtually identicalcopyingduetothenarrow rangeofexpressionl.'')
           See:Satavav.fowcy,323F.3d805,812n.5(9thCir.2003)(1:Inlightofotzrholdingthat
    Satava cannotoreventotherartistsfrom usinq the standard and stereotvoed elem entsin his


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    sculpmres,orthe com bination ofthoseelem ents,wefind itunnecessary to considerthe

    application ofthemtrgerdoctrine.'')
           See:çt-f'hemergerdoctrine istypically applied only to factualinfonnation orscientifk

    theories,notto im aginative workssuch asplaysornovelswheretheauthorhasamuch broader

    choiceofexpression.''Fishman,Stephen (September7,2011).TheCopyrightHandbook:W hat
    Every W riterNeedsto Know .Nolo.p.288.ISBN 978-1-4133-1617-9.Retrieved June 19,2012.

           Afterdisregarding thenon-protectableelementsofmy work,thebanana and duct-tape

    exnression remain.ltisan expression and theregistration in mv work extendsto the selections

    coordination orarrangem entofthe works--notthe preexsiting w orksthem selves. The original

    exoression cannotbe seoarated and rem oved reeardlessofthe m aterialsused because the

    copyrightprotection extends to the expression,notthe m aterialsused.

           See:W illiamsv.Crichton.860 F.Supp.158,165(S.D.N .Y.1994)(çç''The sim ilaritv to be

    assessedmustconcern theexpressionofideas,nottheideasthemselves,''id.(citingReyherv.
    Children% Television Workshop,533F.2d 87,90(2dCir.),cert.denieJ 429U.S.980,97 S.Ct.
    492,50L.Ed.2d 588(1976)),andNicholsv.UniversalPictureCorp.,45F.2d 119,121(2d.Cir.)
    (L.Hand,J.),ccrf.denied,282U.S.902,51S.Ct.216,75L.Ed.795(1931),''adistinctioneasier
    to assertthan to apply,''WarnerBros.IL 720 F.2d at239,and necessarily an ad

    hocenterprise.Durham Indus.,lnc.v.Tomy Corp.,630F.2d905,912(2dCir.1980)
    (quotingPeterPanFabrics,Inc.v.Martin WeinerCorp.,274F.2d487,489(2dCir.1960)).0)
           ln description ofm y w ork,D efense Counselhas proven m y pointand contradicts

    them selvesby illustrating thatmy copyrightprotected work containsm orethan simply abanana

    and duct-tape outofcontext.




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           DdknseCounselstated:çiBy sharp contrast,thesoleelem entsin Defendant'swork are a

    reaibananaandducttape.Thebananaisoriented vertically,and theducttape nmsat

    approxim ately a45-degreeangle.Thus,thereisno sim ilarity in protectibleelem ents.''

           Thiscomparison doesmore to illustrateintentionaldissim ilarity than to separatethe

    Defendant'swork asindependentcreation.

           See:PeterPanFabrics,Inc.v.CandyFrocks,Inc.,187F.Supp.334,335(S.D.N.Y.
    1960)Cçldowever,tothiscourt,thedissimilaritiesappearquiteobviouslytobetheresultofa
    studied effortto makem inordistinctions,asevidenced bytheuse ofvirtually identicalcolor

    schemesgivingtheiroverallappearancestrikingsimilarity.'')
           Aswell,itappearsthatDefenseCotmselcontradictstheirearlierstatement,wherein they

    now claim thatthe Defendant'sselection,coordination and ofthebanana and duct-tape isa

    protectable expression.

           Nevertheless,theDefendant'swork usestheexactsam evisualelementsplaced atthe

    exactsameanglesethatisspecificallvnthebananaand duct-tapehavefotlrconaruentangless

    when therewereamultim deofalternatechoices.

           No coovriqhtissouqhtforthebanana--itisaoreexistinqm aterial.The duct-taoe does

    notaffix anything to the wall--D efense Counselism isrepresenting the work.

           tçBanana and Orance''isan artistic creation. ln theeventtheûtbodily appropriation''

    standard shouldbe applied totheexpression--theDefendant'swork stillconstitutesinfringem ent.

           See:HarperHouse,Inc.r.ThomasNelson,Inc.,889 F.2d 197,205 (9th Cir.

    1989)(ççEven ifanorganizeriscopyrightableasacompilation,however,itwarrantsonly
    extremely limited copyrightprotection.hfactualcompilationreceivesonlylimitedcopyright
    nrotection.See Worth v.Selchow RiehterCo..827 F.2d 569.573 (9th Cir.19874:Cooline


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    SystemsFlexibles,Inc.v.StuartRadiator,Inc.,777F.2d485,492 (9thCir.1985).Similarly,
    com pilationsthatconsistlargely ofuncopyrightableelementsreceive only limited protection.As

    w ith factualcom pilations,copyrightinfdngem entofcom pilations consisting largely of

    uncopyrightableelem entsshould notbe found in theabsenceof''bodily appropriation of

    expression.''827 F.2d at573.Such a standard w ould be in keeping w ith cases relied on by the

    districtcourtinvolving sim ilaritem s.Bal& in Cooke,Edwin K WilliamsCo.,and Cash

    Dividend Check Corp.,each involved ''bodily appropriation''- copying ortmauthorized useof

    substantially the entireitem .In Baldwin Cooke,the defendantincluded exactly thesame formsas

    tbund in plaintiffsplanner,and advertised itsplanner asm eeting dem andsfora productsuch as

    plaintiffsplanner.Both plannerswere 140 pageslong,and the layout,organization,artwork and

    listswereidentical.383 F.Supp.at656.ln Edwin K.W illiamsCo.,the defendantwasa

    com oration related to plaintiffwhich used plaintiffsentire work in an unauthorized marmer.542

    F.2dat1055-59.'5)
           Iseek to copyrightno aspectsofabananasphysiology.M y expression isforthe

    selection,coordination and azrangem entofthematerialsused--notthematerialsthem selves.

           See:Satavav.fowry,323F.3d805,812(9thCir.2003)(tthemay notpreventothers
    from copyingelementsofexpressionthatnaturedisplaysforallobservers,'').
           See:Satavav.ftpwo,,323F.3d 805,813(9thCir.2003)CtNaturegivesusideasof
    anim als in theirnaturalsurroundings:an eagle w ith talonsextended to snatch a m ouse;a grizzly

    bearclutchinq asalm on between itsteeth;abutterflv emem in: from itscocoon:awolfhowlin:

    atthefullmoon;ajellyfishswimmingthroughtropicalwaters.Theseideas,flrstexpressedby
    natlzre.arethecommon heritaeeofhum ankind.and no artistmav use coovriehtlaw to prevent

    others from deoictinz them .An artistm av.how ever.orotectthe oriqinalexoression he orshe



    O PPOSITION TO M OTION TO DISM ISS lM orfordv.Cattelan.l:21-cv-20039                Pase56of63
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    contributesto theseideas.An artistm ay vary thepose,attim de,gesm re,muscle structure,facial

    expression,coat,ortextureofanimal.An artistm ay varythebackground,lighting,or

    perspective.Such variations,iforiginal,m ay earn copyrightprotection.'')
           TheDefendantm av copv çEelementsofexpression thatnattzre displavsforallobservers''

    aspreviouslystatedtheDefendantmaytapea11thebananashewantstoawall,heisjustnot
    allow ed to coov m v exoression and claim itas his olieinalcreation.

           Andnothingintherepresentationofnaturalobjectsinthisnecessarilyflow from nature
    as nature don'tputduct-tape On bananas.

           N eitherthe banana norduct-tape can be filtered outofm y expression--because they are

    usedto createtheexpression. Itisthe expression thatiscopyright-protected.Notthe banana nor

    theduct-tape(See:CopyrightCircular14).Thesematerials/preexistingworksarenotextended
    protection under m y registration. The expression m ade w ith them is. M y copyrightisnotfor

    individualitem s,itisforthe expression created w ith them . Pretending thateverything used to

    createan artisticexpression can berelegatedto itsindividualpartsapartfrom itsresulting

    expression iscontrary to copyrightlaw .

           See:OracleAm.,Inc.v.GoogleInc.,750F.3d 1339,1363(Fed.Cir.2014)(1ûByanalogy,
    theopeningofCharlesDickens'A Taleofl'
                                        woCitiesisnothingbutastringofshortphrases.Yet
    no one could contend thatthisportion ofDickens'work isunworthy ofcopyrightprotection

    because itcan be broken into those shorterconstituentcom ponents.The question is notw hether

    a shortphraseorseriesofshortphrasescan be extracted from thework,butwhetherthem anner

    inwhichtheyareusedorstnmgtogetherexhibitscreativity.'')
           Such preexisting item sm ay be rem oved only ifthey are notpartofa selection,

    coordination orarralw em entthatcreates and oriqinalexoression.


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           yee:Lll'JOe Weln M uslc,Inc.v.Jackson,243 1..App'
                                                           x K/3,8/9 (1lth Clr.

    2007)(diAccordingly,becausethe''birthday''phrasewasacommon,unoriginal,and
    noncopyrightableelem entofthesong,itisnotentitled to copyrightprotection.'')
           Continuingto assertthatmy artisonlv an tmoriainalcollection ofnon-copvrightable

    elem entsfree ofexpression exhibitsa clearignoranceofcopyrightlaw.Geometric shapesare

    notcopyrightablebutthey can be usedto create an originalcopyrightable expression. See:



           906.1 Com m on Geom etric Shapo



           Generally,the U .S.CopyrightOtlice willnotregister a w ork thatm erely consistsof

           com m on geom etric shapes unlessthe author'suse ofthose shapesresults in a

           w ork that,as a w hole,is suthclently creatlve.



     Rockscan be usedto createa copyright-protected sculpture. See:



           312.1Copyrightablc SubjectM atter:


           Exam ples:The O ffice m ay register a w ork com prised ofrocks thatare selected,

           coordinated,arranged,and fixed in such away asto resultin a sculpturalwork.

           Likew ise,the O ftice m ay registera photograph ofa rock,a draw ing ofa hand-

           toolsorawritten expression ofan idea.Howeverethe Office cnnnotregistera

           mereçicom oilation ofideas-''amereçlselection andarraneementofhand-tools-''




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           oramere'-compllation ofrocks,''becauseideas,handtools,and rocksdo not

           constitutecopyrightablesubjectmatterunderSection 102(a)oftheCopyrightAct.


           Shapesand rockscannotthen berem oved so thatanalysismightsel'veto destroy the

    expression underan exkinsictestin orderto facilitate aplagiarist'sactofinfringement.

           Them annerin which Defense Counselarticulatesvariationsin theDefendant'spiece

    serveonly to indicate an intentionalactofdissimilarity ratherthan independentcreation.

           See:Sellev.Gibb,741F.2d 896,904(7thCir.1984)(ûtsomedissimilaritiesmay be
    particularlysuspicious.See,e.g.,MeierCo.v.AlbanyNovelty Manyfacturing Co.,236 F.2d 144,
    146 (2d Cir.1956)(inversion and substitution ofcertain wordsin acatalogue in a ''crudeeffort
    to give theappearanceofdissim ilarity''arethem selvesevidenceofcopyingl;Blumev.Spear,30

    F.629,631(S.D.N.Y.l887)(variationsininfringingsongwereplacedsoastoindicate
    deliberatecoovincl:Sherm an.M usicalConvrizhtInkinzement.at84-88.5'b

           DefenseCotmselcannotpointto how much theDefendantdidnotstealin orderto defend

    his infringem ent.

           See:ûtM oreover,no copierm ay defend the actofplagiarism by pointing outhow m uch of

    thecopyhehasnotpirated.SeeSheldonv.Metro-GoldwynPicturesCorp.,81F.2d49,56 (2d

    Cir.)(L.Hand,J.),cert.denieJ 298U.S.669,56S.Ct.835,80L.Ed.1392(1936).''Rogersv.
    Koons,960F.2d 30l,308(2d Cir.1992)
           Com parison ofthe tw o expressions side-by-side prove they are notonly substantially

    sim ilar,and strikingly sim ilar,butthey are virtually identical.




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           In attemptto dismisssubstantialsim ilarity,DefenseCounselreferencesthe absence of

    the E:orange''in Defendant'ssculpture,stating %ûthe orange in Plaintitrswork noteven appearing

    in Cattelan's work.'' Thisim plied defense is rebutted by caselaw.

           Aswell,theanalysisofany work areto be thesim ilarities.notthe differences

    (TufenkianImporc xportVentures,Inc.v.EinsteinM oomjy,lnc.,338F.3d 127(2dCir.2003$.
           See:''Substantialsimilarity'
                                      'isto be detennined bythe ''ordinary observer''test.Judge

    LemmedHand in defining thisteststated thereissubstantialsim ilarity where''the ordinary

    observer,unlesshesetoutto detectthedisparities,would bedisposed to overlook them ,and

    regard theiraestheticappealasthesame.''PeterPan Fabrics,lnc.v.M artin W einer(20/ .,274

    F.2d487,489(2dCir.1960).M orerecentlythiscourtformulatedthetestas'whetheranaverage
    lay observerwould recognizethe alleged copy ashaving been appropriated from thecopyrighted

    work.''IdealToyCorp.v.Fab-Lu Ltd.,360F.2d 1021,1022(2dCir.1966).And,ofcotlrse,by
    definition''ltlhecopyingneednotbeofeverydetailsolongasthecopyissubstantially similarto
    thecopyrightedwork.''ComptoneCo.v.RayexC0m .,251F.2d487,488(2dCir.1958);United
    M erchantsM anufacturers,Inc.v.K.GimbelAccessories,1nc.,294 F.supp.151,154 (S.D.N .Y.
    1968).Noveltv TextileM illsv.Joan FabricsCom ..558F.2d 1090,1093 (2d Cir.1977)

           M yworkisnotnaturalobjectsaretheyappearinnattzre.Itisnotarepresentationof
    dolohinscrossine underwater(Folkensv.Wavland Worldwide.882 F.3d 768 (9th Cir.20184. It

    isnotsimply bananasrepresented in naturehanging atdifferentangles.Theinfringem entisof

    the expression. A nd the infringem entbv the Defendantis virtuallv identical.

           A s m y w ork are notelem ents asthey appearin nature the artistic expression is entitled to

    broadprotection.Specifically thereareno lessthanseven (7)signifkantsimilaritiesinawall
    sculoture which isoutside ofmereer.scènesà,faire.


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               Comparing these workssided-by-side in accurateproportionsrevealsstriking sim ilarity

    regardingtheprotectable expression.

              See,e.g.,Cortesv.UniversalM usicLatino,477F.Supp.3d 1290,1297 (S.D.Fla.2020)

    (ûTorthe substantialsimilaritv analysisscourtsmustcomparethe competing worksside-bv-side

    . ..   Havingdonesohere,theCourtfindsthatDefendantsareentitledtosunzmaryjudgment
    because theworksareonly similarasto unprotectableelementsand sharenocomm onality atthe

    levelofprotectableexpression.'').
               M ywork isnotsimply acem etery staturefree-of-expression.ln factmy work containsa

    specificanglesreplicated by theDefendant,who co-opted the selection,coordination and

    arrangem entOfm y eXW eSSiOn.



    C .I Can Adequately Plead A ccess

               M yproofoforigin irrefutably predatestheDefendant'scopy,unlike,Cain v.Hallmark

    Cards,Inc. Thereisno abseneeofmy key evidence.

               See:Cain v.Hallmark Cards,Inc.,CIVIL ACTION No.3:15-00351-JW D-EW Da7

    (M .D.La.Jun.6,2016)(tçl-lallmark claimsownershipoftheonlyrelevantcopyrightand
    dism issesthesignifk anceofPlaintiffsbelated registration ofherpoem ,and Plaintiffcnnnot

    provecopying when itsversion predatesherfonnulation- plaintiffnow suffersfrom an absence

    ofkey evidenceasto essentialelem entsofherasserted causeofaction.In such

    circlzmstances,Rule 56m ilitatesin favoroftheM SJ'Sgranting.'')
               M y statem entregarding accessisnota tçconclusory statem entdevoid ofany allegation of

    facts''. The supporting evidence has been offered and is irrefutable:

               1.     M v w ork w as verifiablv created a sienificantoeriod oftim e priorto Defendant's.


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           3      Accesstomyworkhasbeenestablished,worldwide,forno-lessthan ten(10)
                  yearst-
                        luly 18,2008).
                  Substantial/striking sim ilarity is inherentvia visualcom parison.

           M y allegationsare true on their face-hardly a tçconclusory statem enf'.

           TheDefendanthasareasonablepossibilityofviewingmywork(foroveradecade)as
    did anyoneelse,worldwide,who had accesstotheintem etand/oran interestin art. Obviously

    the Defendantisonline asevidenced by hism ultiple socialm ediaaccotmtsand w'ebsites.

           Additionallv.them arketsserved bvtheDefendant'sstated citizenship (ltalv)and

    gallery'sheadquarterstFrancelviewedthework,inparticular,therewasan inordinateamountof
    viewsoriginatinM in Franeepriorto theDefendant'sinitialversion appearing.

           Regarding access-versus-sim ilarity andtheincreased bttrden proofon theplaintiffin the

    eventreasonableaccesscannotbe shown,Ido notbelievethattheEleventh Circuitusesthis,

    *llnverse Ratio Principle,''nevertheless,even ifthiswerethecase,my burden,atm ost,would be

    to show striking sim ilarity. To thatpoint,thesim ilarity between thetwo segm entsin question

    arebeyondtçstriking''(tothepointofbeingçtvirtuallyidentical'')regardingprotectedexpression
    and theinfringing work.

           See:Since there is seldom directevidence ofcopying,this elem entis usually established

    circum stantially,by showing thatthe person who composed thedefendant'swork had accessto

    thecopyrighted m aterialand thatthereissubstantialsim ilarity between thetwo works.Ifthe

    plaintiffcannotshow access,he m ay stillprevailby dem onstrating thatthe worksare ''strikingly

    similar.''Jenkinsv.Jury,CmseNo.5:07-cv-133-Oc-GRJ,8(M .D.Fla.Apr.16,2009)
           See:OriginalAppalachianxdr/wtvkç,v.Toy Lo#,684F.2d 821,829(11thCir.
    1982)(Et-
            l-heseareumentsaremisdirected.Becauseitisrarelv oossibleforan authorto orove


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    copying directly,courtshave developed atwo-parttestthatinfringtmentplaintiffscan useto

    provecopyingindirectly.Thistestrequirestheplaintifftoshow that(1)thedefendanthadaccess
    totheworkand(2)thatthedefendant'sworkissubstantially similartotheplaintiffs.Millerv.
    UniversalCi/yStudios,650F.2d 1365,1375(5thCir.1981);Fergusonv.NationalBroadcasting
    Co.,Inc.,584F.2d 111,113(5thCir.1978);AccordKamarInternationalv.RussBerrieCo.,651
    F.2d 1059,1062(9th Cir.1981);Durham Industries,Inc.v.Tomy Corp.,630F.2d 905,911(2d
    Cir.1980).''Substantialsimilarity''existswhere''anaveragelayobserverwould recognizethe
    alleged copy ashaving been appropriated from the copyrighted work.''D urham Industries,

    supra(quotingNovelty TextileAf/&,Inc.v.JohnFabricsCorp.,558F.2d 1090,1092-93(2d
    Cir.1977).Accord KamarInternational,supra,657 F.2d at1063;UniversalAthleticSalesCo.v.
    Salk.
        e14 511F.2d 904,907 (3d Cir.),cer/.denie4 423 U.S.863,96 S.Ct.122,46 L.Ed.2d 92
    (1975).M iller,supra,650 F.2d at1375;Novelty TextileM ills,supra,558 F.2d at1092 n.2.15
           Neverthelessslcan stilltlpleadto the higherstandard ofçûstriking sim ilarity''instead of

    tûsubstantialsimilariw ''

           See:Calhounv.fillenasPubl'
                                    g,298F.3d 1228,1232n.6(11thCir.2002)(ûûW herea
    plaintiffcannotdemonstrateaccesshemay,nonethelesssesiblish copying by dem onstratingthat

    hisoriginalworkandtheputativeinfringingworkarestrikinglysimilar.'').
           M y copyrightprotection is broad considering itis a creative work w ith m any options

    outside ofm erger and lcan plead m ore than substnntialsim ilarity and striking sim ilarity to the

    pointofvirtualidentity.

           1m aintain substantialproofofaecess.

           The D efendanthad a remsonable opportunity to view m y work fora considerable period

    oftim e priorto the appearance ofhisversion appearine.


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               YO U'I'UBE -July 18,2008

            TheworkhasbeenconstantlyonYouTube(andaccessedworldwide)sinceJuly 18,
            200t.



            2. FA CEB O OK -July 29,2015

            TheworkhasbeenconstantlyonFacebooktandaccessedworldwide)sinceJuly29,
            2015.



            3. A RTIST W EBSITE -July 2,2016

            Myworkhasbeenconstantlyontheartistwebsitetandaccessedworldwide)sinceJuly
            02.2016,



            A ccessw orldw ide cnnnotbe disputed. A sw ell,analytics/statisticsfrom these sitesprove

    the work wasaccessed in no-less-than twenty-five (25)countries. Aswidely disseminated is
    defined asaçtgreatvariety''itcannotbe disputed astothework being accessible and ltwidely

    diqsem innted.''

            lcan establish accessin thatthe Defendanthad altreasonable''opporttmity to view or

    copv mv work durinethisoeriod. 1bViewsworldwide:includinq an inordinateam ountof

    incongruousviewsoriginatingfrom theGallery'smainofticetFrancelaswellasaccessfrom the
    Defendant'shomecountrv (ltaly).2)Viewed worldwideon multipleplatformsconstituting wide
     bissem ination.




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            ln addition tothewide availability,the speciticdistinction ofkeywordsrelated to art

    would directsuch related purveyors.Considering accesscan be arrived atsignitk antly via

    limited release;especially iftargeted.

            See;ttAtthe end of1987orin 1988Koonspurchased atleasttwoM useum Graphics

    notecardsdisplaying Rogers'''Puppies''photograph.''Rogersv.Koons,751F.Supp.474,476

    (S.D.N.Y.1990)
            Thisisevidencethateven limited distribution can expose artto ûtartplagiarists''via

    targeted search criteriasuch asfûart5''ûtartists5''çtsculpture''etc.

            And theDefendantneed notbeççconnected''to me on socialmedia,pastorpresent,to

    have w orldw ide accessto m y w ork. The D efendant'sclaim ofnotbeing connected to m e on

    socialm edia is entirely irrelevant.

            lm aintain proofofsubstantial/striking similarity:

            See:ThreeBoysM usic,212F.3dat485(''intheabsenceofanyproofofaccess,a
    copyrightplaintiffcanstillmakeoutacaseofinfringementby showingthatthegworkslwere
    çstrikinglysimilar''')(internalcitationomitted).''Proofofstrikingsimilarityisanalternative
    meansofproving tcopying'whereproofofaccessisabsent.''Baxterv.M CA,Inc.,812 F.2d

    421,424(9thCir.1987).
            See:Although Jenkinsdid notdemonstrateaccesshestill,nonetheless,can establish

    copyingby showing thathissculpturesandtheaccused fish are ''strikingly similar.''Striking

    sim ilarity existsw here the proofof sim ilnritv in appearance is ''so striking thatthe possibilitiesof

    independentcreation,coincidence and priorcomm on sourceare,asapracticalm atter,

    precluded.' Jenkinsv.Jurv.CaseNo.5:07-cv-133-Oc-GRJ.9 (M .D.Fla.Apr.16.200%




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           Underthel%ExtrinsicAnalysis''therecanbeidentifiedno-less-than seven(7)distinct
    pointsofsimilarity.

           Underthe ûtlntrinsic Analysis''itis obvious thatordinary re% onable person w ould

    conclude the tw o expressions are m ore than strikingly sim ilar--they are virtuallv identical.

           Even in the standard ofçl-fotalFeeland Concept''the two w orks are obviously the sam e.

           See:tûln sum mary,Jenkinshasproved thetwo elem ents- ownership ofavalid

    copyrightand copying - necessary to establish hisrightto recoverfrom Jury forcopyright

    infringement.''Jenkinsv.Jury,CaseNo.5:07-cv-133-Oc-GRJ,11(M .D.Fla.Apr.16,2009)
           See:Although Jenkinsdid notdemonstrate accesshe still,nonetheless,can establish

    copyingby showing thathissculpturesand theaccused fish are ''strikingly similar.''Striking

    similarity existswhere theproofofsim ilarity in appearance is''so striking thatthepossibilitiesof

    independentcreation,coincidenceand priorcommon source are,asapracticalm atter,

    precluded.''Jenkinsv.Jury CaseNo.5:07-cv-133-Oc-GRJ,9 (M .D.Fla.Apr.16,2009)
           Thisburden hasbeen m et;particularly considering thatm ergerdoesnotapply to the

    genre ofw allsculpture.

           Requestingprofits,expensesandiqjunction.
           ûl-l-he Courthasfotmd thatJury infringed Plaintiffscopyrights.M oreover,thereis

    substantiallikelihood offuture infringement.''...ûTorthesereasons,the Courtfind thata

    permanentinjunctionisappropriateinthiscase.''Jenkinsv.July,CaseNo.5:07-cv-133-Oc-
    GRJ,12 (M .D .Fla.Apr.16s20094.




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                                          CONCLUSIO N

    Forthesereasons.theCourtshould deny Defendant'sM otion To Dism iss.



                                                      Respectfully subm itted.




                                                      By:

                                                                              Joe M orford,Pro Se
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            1herebycertifythaton May 19,1mailed(viaovernightdelivery)theforegoingtothe
     clerk ofthe court.



                                                     By:

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